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RID]‘HBH:&W\M

Fil| in this inforn'iat`ron to identify your caee:

 

United States Eankri.iptcy Coun for lhe:

 

D|STR|CT OF NEVADA
C.`ase number nrknnwn) _ ` __F_N_____ Chapter you are lillng under'.
. C-hapter 7
El Chapler 11
l;l Cl'iapter 12
|:| Chapter13 l:l Check iilhis an

amended liling

 

 

 

Ofiicial Forr'n 101
Voluntary Petition for individuals Filing for Bankruptcy iam

The bankruptcy forma use you and Debter1 to refer to a debtor filing alene. A married couple may tile a bankruptcy ease together-called a joint
case-and In llolnt caaee, those forms use you to ask for Iriformatlon from both debtere, For exam piel lie form ae|re, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses saparate|y, the form uses Debtor 1 and Debtori.’ to distinguish
between them. tn joint cases1 one of the spouses must report information as Debl'or'| and the other as Dehtor 2. The same person must be Debtor 1 in
all et the fenns.

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responslb|e for supplying correct Iniormation. if
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number tit known). Arlswer
every queetien.

identify Yourself

About Debtor '|; Atioi.it Debtor 2 (SFoi.ise Only in a Joint Case):

1_ ‘i"ei.ir full name

Wr|le the name that le on MAR|ANELA

your QGVBVT‘TE"t'i‘-"Sued First name First name
picture identification (for

examp|e. your driver’s
license er pasepon). Midd¢e name Middle name

Brl“g V°L" mature OL|VERA CABALLERO

'd'“'"t'”‘:at‘°" t° y°‘" `“La$i“rié“?n€“&"&"e"iifin isr..'.ir.'. ii. iil') '

 

 

 

 

meeting with the trustee_ Lasi narne and Sufi|x (Sr.. Jr.. ll. l||)

 

 

2. All other names you have
used |n the last B years

|neli.ide your married er
maiden names.

 

3. Dnly the laet¢t dlglte of
your Soclal Security
number or federal xxx_xx_aq 54
individual Taxpayer
Identifieation number
([T|N)

 

Offli:ia| Fcirrn 101 Ve|i,intary Potltlon for lndividua|e Fl|ing for Bankruptcy page 1

Case 19-11312-abl

Debtor1 ”MAR|ANELA OLlVERA CABALLERO

4. Any business names and
Employer identification
Nurnbers (ElN) you have
used in the last B years

include trade names and
doing business as names

About i'.\ebtor 1:

. i have not used any business name or EiNs.

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31071'1911:50»\|¢\

Case number ririmawn)

 

About Dobtor 2 (Bpouse Only in a .ioint Case):

I:l l have not used any business name or Ell"isd

 

 

Eiusiriess name(`s)

E[Ns

Eusiness name(s)

 

E|Ns

 

5. Where you live

5225 FlRE NlGHT AVE
Las Vegas, NV 89122

if Debtcr 2 lives ata different address:

 

 

Number, Streetl City, State 8\ ZlP Code

Ciark

Numberl Sireet_ C.`.ityl Staie di ZIF' Code

 

 

County

if your mailing address is different from the one
above, fill lt in here. Note that the court will send any
notices to you at this mailing address.

County

if Debtor 2‘s mailing address is different from yours. fiil it
in here. Note that the court will send any notices tc this
mailing address.

 

 

Number, P.D, Ecx, Street, Clty. State &_ZIP Code

number,_i?'?o, asx. street ciiy, stare a zia case

 

E. Why you are choosing
this district to file for
bankruptcy

Check one_'

- i‘.`iver the last 180 days before filing this petition

l have lived in this district longer than in any
other districi.

l:l l have another reason.
Explain. (See 28 U.S.C‘ § 1408‘)

Check one:

l:| Over the last 180 days before filing this petltlcn. l
have lived ln this district longer than in any other
districtl

|:l l have another reason.
E)cp|ain. (See 28 U_S.C. § 1408.)

 

 

 

Oft'ic`ial Form 101

Voluntary Petition for individuals Filing for Banirruptcy

page 2

Debtor 1

Tell the Gourt About Your Bankruptoy Case

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-'W?HB i1 SUAM

MAR|ANELA OLlVERA CAEALLERO _ _ g Case number iiiknuwni

 

i’_'..`iieck one (For a brief description cf eoc|'i. see Noir`ce Required by 'i'i U.S. C.`. § 342(13) forindividuais Fiii`ng for El'ankrupicy

 

 

 

 

 

 

7. The chapter of the
Eianitruptcy Code you are (Fomi 2010)}. ii‘tlsol go to the top of page 1 and check the appropriate bex,
choosing tc fiie under

l Chapter?

i:l Chapter 11

El Chapter 12

l:l Chapter 13

B. How you will pay the fee l lwlti pay the entire fee when lfl|e my petition F'|ease check with the clerk's office in your local court for more details
about l'iow you may pay. Typioa||y. if you are paying the fee yourself, you may pay with cash, cashier's check. or money
erder_ if your attorney is submitting your payment on your behaifl your attorney may pay with a credit card or check with
a pre-printed address_

|;l l need to pay the fee in installments lf you choose this option. sign and attach the Appiieatr'on for individuals to Pey
The Fii'ing Fee iri installments {Official Form 103A).

|:| l request that my fee he waived iYou may request this option only if you are ii|ing for Chapter 'i, By |aw. a judge may.
but ls not required to. waive your iee. and may do so only ifyour income is less than 150% ofthe official poverty line that
applies to your family size and you are unable to pay the fee in lnstallrnents). lt you choose this option, you must fill out
the Appiicaiion to Have the Ghepter 7` Fiiing Fae Waived (Oiticia| Form 103Ei) and tlie lt with your petiticn.

B. Have you iiieci for l Nn

bankruptcy within the `
last 8 years'? |:l Yes_
D|strict When Case number
District When Case number
D|strict When C.`.ase number
10. Are any bankruptcy l N°
cases pending or being
filed by a spouse who is l:l Ygg_
not filing this case with
you. or by a business
partner. or by an
affiliate?
Debtor Relationship to you
Distriet When Case number. if known
Debtor Relationship to you
Disirict When Case numbar, if known
11. Eio you rent your l No_ Go to line 12.

residence?

|:| YE_.'._-,, Has your landlord obtained ari eviction judgment against you'?

ij No. Go to line 12.

l:l Yes. Fli| out initial Siai'ementAbcui an Evr`crr'cn Judgment Againsi You (Form 101A) and tile it as part of
this bankruptcy petition

 

Dfi'lcial Form 101

Voiuritary Petltlen for individuals Flllng for Bankruptcy page 3

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JiiJ‘i'iiB i i:BiJi'tM
DEber 1 MARIANELA Dl_._:_li._l_i§§_lit_§_i§ti§iALLERO Case number (irknowni
Report About Any Businesses You Own as a Soie Propr|etor
12. Are you a sole proprietor
er any full- or part»time - No. Go to Part 4.
business?
i‘_'| YES_ Name and location of business
A sole proprietorship ls a
business you operate as Name of business, if any
an individuall and is noia
separate legal entity such
as a corporation
partnershlp, or LLC.
" you have more than one Number. Sireet. City. State & ZlF' Code
sole proprietorshipl use a
separate sheet and attach
it to this petition Checlr the appropriate box to describe your business:
ij Heaith Care Business (as defined in 11 U.S.C. § 101(27A)}
|:| Si'ngie Asset Rea| Estaie (as defined in 11 U.S.C. § 101 (51B})
i:l Stoclcbroker (as defined in 11 LI.S.C. § 101(53A))
|:| Cbmmodity Broker (as defined iri 11 U.S.E. § 101{5))
l:| None of the above
13. Are you filing under if you are nlr'ng under Chepier 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines |f you indicate that you are a smell business debtor, you must attach your most meant balance sheetl statement of
Bankruptcy code and are operationsl cash-flow statement. and federal income tax return or if any ofthese documents do not exist follow the procedure
you a small business in 11 LJ.S.C. 1115(1)(5).
debtor?
l No l am not filing underChapter 11.
For a detinitloh of small '
busmss dgbmr' gee 11 l:| N;,_ | am filing under Chapter11. but l am NOT a small business debtor according to the definition in the Bankruptcy
U_S.C. §101(510). CDdB
[:] YEB_ | ai'i'i filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Ciwn or Have Any Hazardous Property orAny Property That Needs immediate Att,ention

 

 

14. Do you own or have any l No_
property that poses or is
alleged to pose a threat I;I Yes_
of imminent and Wi‘iat is the hazard‘?

 

identifiable hazard to

public health or saiety?

Or do you own any _ _ _ _
property that needs if 'mmB‘-`i'aia §it§"t'°" '$
immadiata attention-g needed. why is ii needed?

 

For example do you own

perishable goi:idsr or

livestock that mustbe ted, Where is the property?
or a building that needs ` ‘
urgent repairs ?

 

Number. Street. Clty, State a Zip Cocle

 

 

Official Form 101 Voiuntary F'etiticin for individuals Fiiing for Bankruptcy page 4

Case 19-11312-abl

MAR|ANELA OLIVERA CABALLERO

Debtor 1

lam Explain Your Efforts to Receive a Brieiing About Credlt Counseling

15. Teil the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
Ycu must truthfully check
one of the following
choices lfyou cannot do
so. you are not eligible to
flle.

if you tile anyway, the court
can dismiss your casel you
will lose whatever filing fee
you pald. and your
creditors can begin
collection activities again

About Debtor 2 (Spouse only in a Joint basei:

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3i07i10 it:SDAM
Case number rvmowm

Abcut Debtor 1:

You must check one: You must check one:

l l received a briefing front an approved credit |:| l received a briefing from an approved credit
counseling agency Witl'tli‘l the 100 days before l counseling agency within the 180 days before i filed
filed this bankruptcy petit|on, and l received a this bankruptcy petition, and l received a certificate of
certificate of com pletion. completion
Attach a copy ofthe certificate and the payment Attach a copy of the certificate and the payment plan if
plan. lf any. that you developed with the agency_ any, that you developed with the agency

I;I | received a briefing front art approved credit |:I l received a briefing from an approved credit
counseling agcncy Wllhin the 100 days before l counseling agency within the 100 days before itiied
filed this bankruptcy petition, butt de not have this bankruptcy petition, but l do not have a certificate
a certificate of completion of completion
Wlthin 14 days after you file this bankruptcy vtnthin 14 days after you his this bankruptcy petition you
petition, you |V|lJST file a copy of the certificate and lV|UST file a copy of the certificate and payment plan, ii
payment planl ifany. any.

l certify that l asked for credit counseling |:| l certify that l asked for credit counseling services
services from an approved agency, but was from an approved agency, butwas unable to obtain
unable to obtain those services during the 7 those services during ti'ie 7 days after l made my
days after | made n‘ty request, and exigent request, and exigent circumstances merit a 110-day
circumstances merit a 30-day temporary waiver temporary waiver of the requirement
of the requirement
To ask for a 30»day temporary waiver ofthe requirement,
To ask for a 130-day temporary waiver of the attach a separate sheet explaining what efforts you made
requirementl attach a separate sheet explaining to obtain the i:irieiingl why you were unable to obtain lt
What efforts you n‘iade to obtain the briefing, why before you filed for bankruptcy, and what exigent
you were unable to obtain it before you filed for circumstances required you to tila this case.
bankruptcy, and what exigent circumstances
requ|,-ed you to file this Ca_s,e_ Your case may be dismissed ifthe court is dissatisfied
with your reasons for not receiving a briefing before you
Your case may be dismissed if the court is filed for bankruptcy.
dissatisfied with your reasons for not receiving a _ _ _ _
briggng before you pled fm- bankmpmy_ if the court is satisfied with your reasons, you must still
[f fha court is gangan With your reagons' you mugl receive a-bl'iEf-il'ig Wii]"iii"| 30 day$ after you fiiE. YD|J iTlLlSi
still receive a briefing within 30 days after you file. me 3 CBmflcaiB from tim approved 309"¢¥_- along Wli"l a
Yoti must file a certificate from the approved C°PY anne Pal'mem man V°'-' dEVt-’-'°PF-*di 'f 3"¥- " Y°l-' do
agencyr a[°ng with a copy of me payment man you l'iDi do SD\ yDUf EBBE lTlBy be dismiSBEd.
;B:B|Dpaij' ".a"y' |fyw do nut do s°‘ your case Any extension of the 130-day deadline is granted only for
y be dismissed. . . . _
cause and is limited to a maximum of 15 days.
Any extension cf the 313-day deadline is granted
only for cause and is limited to a maximum of 15
days.
l:| l am not required to receive a briefing about ij l am not required to receive a briefing about credit

credit counseling because of:

ill lncapacity.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about iinances.

l:l Disability.
` le physical disability causes inc to be
unable to participate in a briefing iri person,
by phone. or through the internei, even after l
reasonably tried to do so.

ij Active duty.
l am curmntly on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit counselingl you must tile a
motion for waiver credit counseling with the court.

counseling because of:

l] incapacity.
l have a mental illness or a mental deficiency that
makes rne incapable of realizing or making rational
decisions about finances.

l |:| oisshiiity.

lilly physical disability causes me to be unable to
participate |n a briefing ln person by phone. or
through the internet. even after l reasonably tried to
do so.

l:l Aotive duty.
i am currently on active military duty ln a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling. you must file a motion for waiver
of credit counseling with the court

 

Ofiicial Form 101

Voiunf.ary Petition for individuals Fiiing for Eankruptcy

page 5

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Certificatc Ni.imbci': 15725-NV-CC-032266193

IS?ZS-NV-CC-UEIZZM | 93

CER'I`IFICATE OF COUNSELING

I C.ERT[FY that on Februg;y 7, 2019, at M o'clock PM ES’I`, Marianela Glivcra
Cabailero received from 001 Debtorcc hic., an agency approved pursuant to ll
U.S.C. § 111 to provide credit counseling in the Dist;rict of chada, an individual
[or group] briefing that complied with the provisions of ll U.S.C. §§ 109(h) and
1 1 l.

 

A debt repayment plan was not prepared lf a debt repayment plan was prcparcd, a
copy of the debt repayment plan is attached to this certificate

This counseling session Was conducted by internet.

Datc: Fcbruarv 7, 2019 By: Istaivin Yim
Name: Calvin Yi'm

Titic: Counsclor

* Individuals who wish to fits a bankruptcy case under title 11 of the Unitcd States Benicruptcy
Code are required to file with the United Scates Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed enough die
credit counseling agency dee ll U.S.C. §§ 109(h) end 521(b).

 

 

 

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Debtori MARIANELA GL|VERA CABALLERO Case number {rrr¢nawni

 

Part 6: Answ_er These Ct_uestlons for Reporting Purposes

16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 Ll_ S. C. § iil‘ltB) as "incurred by an
you have? individual primarily for a personal famiiy. or household purpose."

E| No. Go to line iob.

 

- Yes. Go to line 17,

il§ii:tl Are your debts primarily business debts? Busi'ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

l:i No. Ge to line ib`c.
i:| Yes. Go to line 17.

 

 

 

 

 

 

 

 

 

16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under |;| NO_ lam not filing under Chapter ?. Go to line tt`i.
Chapter 7?
Do you estimate that l Ye$ l ann filing under Chapter ?. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ` are paid that funds will be available to distribute to unsecured creditors'?
property is excluded and
administrative expenses l No
are paid that funds will
be available for |:i Yes
distribution to unsecured
creditol's?
13- HDW m€_l"y CrEdit\‘-"B do l 1_49 l;i 1,000~5,000 i:l 25.001-50.000
:‘:v‘;_*;i'“"‘“te "‘*`“ Y°“ g 50_99 Ei 5001-10.000 El 50.001-100,000
i_'_l 100.199 |:l 10.001-25.000 ij Nlere thaniob,oco
Ei 200-999
19. Ho\_iv much do you - 30 _ 550|000 i;i $1,000,001 - $10 million i:i $500.000‘001 - 51 billion
::t:n:r:;¥°ur asset$ to |:| $5[)'[][]1 _ 5100'0[]0 El $iD.UUU,OO'i - $50 lTliiilDl‘i i:i $i .GOO.C|OQQU‘| - 510 billii.‘.il'i
|:| gqgg|gm _ g§gulgog i:i $50.000.001 - $100 million i:i $10,000.000.001 - 550 billion
|:| 350.0|00-1 _ 51 million i:i $lOU,OClD.OO‘l - 5500 million i:i illide than 550 biiiiDl"l
20. How much do ycu_ _ _ . $U - $50.000 i:i 51.000.001 - 510 million i:i $500,000,001 - $'l billion
t°:it')':_?l° V°"'"ab"'t'“ l 350|001 _ 5100|900 ill sio,ccc,ocl -ssc million E| si.occ,cun.rici - sic oiiiion
|:| $»1[]0_001 ._ $500|[]00 l:i SSO.DUU.OOT - $'iUU million i:i $10.000.000.001 - 350 biiiii.‘.ll'l
|:| $500_[]0»1 _ 51 million ij $'iUU,DUU.UU`i ~' $EUU l't'liiiliJl‘i i:.i MlJI'E li‘lai‘t 550 biiiiCil"l
Slgn Below
For you l have examined this petition, and l declare under penalty of perjury that tl'ie information provided is true and correct.

|fi have chosen to file under C`.liapter 7. | am aware thati may prooeed. if eligib|e. under i'.`lhapter 7. 11.12. or 13 of title 11.
U_nlted States Code. l understand the relief available under each ohapter, and l cheese to proceed under Chapter 7.

if no attorney represents me and | did not pay cr agree to pay someone who is not an attorney to help me fill out this
document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11. Uniterl States C,`»ode. speo|fted in this petition
l understand making a false statementl concealing propertyl or obtaining money or property by fraud iri connection with a

bankruptcy case can result in fines up to SBSD`DDD. or imprisonment for up to 20 yearsl or botb. 16 U.S.C. §§ 152, 1341. 1519.
and 3571.

 

UARiANELK't'J`Lit(ERA cAeALLERo Siansture of Debtor 2
Signature of Debtor 1

Executed on _M%_ '_i iUi_ _ Eitecuted on

op `/\`rYYY _ iviivi r co l YYYY

 

 

Officiai Form 101 Vo|untary Petition for individuals Fiiing for Eanltruptcy page Ei

Case 19-11312-abl

Debtor 1

 

For your attorney, ll' you are
represented by one

if you are not represented by
an attorney. you do not need
to file this page_

iviARIANEi_A oLivEe§_cAeALLERo

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EIDW'lE 11‘.5i,'.|AM

Case number rrrrmown)

l, the attorney for the debtor(s) named in this petitionl declare that | have informed the debterts) about eligibility to proceed
under Chapter 7, 11, 12, cr 13 of title 11, United Stales Code, and have explained the relief available under each chapter
forwhich the person is eligible. | also cedify that l have delivered to the debtor(s] the notice required by 11 U.S.C. § 342tb)
and. in a case in which § 707{h)(4)(D) applies. cenify that l have no knowledge after an inquiry that the information in the

schedules filed with the petition is incorrectl

tel MlCHAEL J. HARKER Dale

S"ig'riature of Attorney for t_`iebtor

 

MlCHAEL J. HARKER 5353

F'rinl.ed name

LAW oFFicEs oi= iiiiici-iAEL .i. HARKER
Flrm name

2901 EL CAM|NO AVE STE# 200

Lae Vegae, NV 89102

Nurnher. Sl.reei. Cily. $i=ie & Z|P Cede

702-248-3000

Gerll$¢i phone Erriei| address

5353 NV

Bar number $ Stete

_M$_"=_t'_ll_?_\!_i.¥'_ _
iviivi l pp erY~r

NDT|CES@HARKERLAWF|RM.CDM

 

 

Official Form 101

Voiuntary Petition for individuals Fiiing for Eanitruptey

page 7

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Notice Required by 11 U.S.C. § 342(b) for
m_d_ividua|s Fiiing for Bankruptcy (Forn'i 2010)

WD'i'fiB itZEDAM

 

 

This notice is for you if:

‘i'ou are an individual filing for bankruptcy,
and

Your debts are primarily consumer dabts.
Consurner debts are defined in 11 U_S_C_

§ 101 (8) as “incurred by an individual
primarily for a personal, famiiy, or

household purpose_"

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code;

Chaptar 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Requirad by 11 u.S.C. § 342(11) for individuals Fiiing for Bankruptcy tForm 2010]

Scitwsre Copyrignt tot 1996-2015 Bost Caso. LLG - wilwr bostoa=o.corrl

5245 filing fee
$?5 administrative fee

+ $15 trustee surcharg§

 

$335 total faa

Ghapter ? is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditorsl `i'he
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts Exceptions exist
for particular debts1 and liens on property may still
be enforced after discharge For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile

However, if the court Finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you file chapter 7 and
you receive a dischargel some debts are not
discharged under the iaw. Therefore, you may still
be responsible to pay:

most taxes',

most student loans;

domestic support and progeny settlement
obligations;

page 1

Besl Ease Bankruptcy

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most fines penalties forfeitures and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft

fraud or defalcation while acting in breach of
hduciary capacity;

intentional injuries that you infiicted; and

death or personal injury caused by operating a
motor vehicle, vessell or aircraft while intoxicated
from alcohol or drugs

if your debts are primarily consumer debts the court
can dismiss your chapter 7 case ii it finds that you have
enough income to repay creditors a certain amount
You must file Ctiapter 7 Sfaten'ierit of Your Current
Monthiy income (Cifl“iciai Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

if your income is not above the median for your stats
you will not have to complete the other chapter 7 form.
the Cha,oter 7 Means Test Caicuiation (Official Form
122A~2)_

if your income is above the median for your state. you
must tile a second form _the Chapter 7 Means Test
Caicuiation (foicial Form 122A~2)_ The calculations on
the form_ sometimes called the il/ieans Tesr_deduci
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors if

Notice Requirer.i by 11 u.S.C:. § 342(b| for individuals Fiiing for Bankruptcy tForm 2010}

Eoiiware i'.`opyrigl'ii tot 1993-2013 Bosi Caso. LLC - www.boslcase com

ZWTIW 11'5|JAM

your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U_S_ trustee, bankruptcy
administratorl or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Godei if a
motion is hied, the court will decide if your case should
be dismissed To avoid i:fismissall you may choose to
proceed under another chapter of the Bankruptcy
Code.

if you are an individual filing for chapter 7 bankruptcy.
the trustee may sell your property to pay your debts
subject to your right to exempt the property or a portion
of the proceeds from the sale of the properly. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property Exemptions may
enable you to keep your homel a car, ciothtng, and
household items or to receive some of the proceeds if
the property is sold

Exemptions are not automatic To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempr tornciai Form iosc). iryou rio not iict the
propertyl the trustee may sell it and pay all of the
proceeds to your creditors

 

Chapter 11: Reorganization

 

$1.167 filing fee

+ $550 administrative fee
$1,717 totalfee

Chapter 11 is often used for reorganizing a business
but is also available to individuals The provisions cf
chapter 11 are too complicated to summarize briefiy_

pass 2

Bost Case Bankruptcy

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Read Thosc im -ortant Warnin- s

 

Becauee bankruptcy can have serious long-term financial and legal consequences including loss of
your property, you should hire an attorney and carefully consider ali of your options before you file.
Oniy an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your famiiy, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. if you file without an attorney, you are still responsible for knowing and

following all of the legal requirements

You should not file for bankruptcy if you are riot eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud ln your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $ZBD,DUD, or imprisonment for Lip to
2l1 years, or both.1B U.S.C. §§ 152, 1341,1519, and 3571.

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ 575 administrative fee
$275 total fee

Simllar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid_

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $?5 administrative fee ‘
$31 0 total fee

 

Chapter 13 is for individuals who have regular income
and Wou|d like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Requlred by lt l.|.$.¢. § 342(bl for individuals F|llng for Bankruptcy (Ferm 2010)

Softwarg Ci;ipy'right [i;} thB-2D1B Best Caise` LLC - www bostca$eicon‘l

3¢'0'i'i'ilil \i:EUAM

 

Under chapter 13, you must file with the court a plan
to repay your creditors ali or part of the money that
you owe themr usually using your future earnings if
the court approves your planl the court will allow you
to repay your debts as adjusted by the plan, within 3
years or 5 years depending on your income and other
factors

After you make all the payments under your plan,
many of your debts are discharged “l'he debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations

most student loans

certain taxes

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity, -

most criminal fines and restitution obligations

certain debts that are not listed in your
bankruptcy papers

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts

page 3

Elest case Bankruptcy

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Warning: File Your Forms On TilTie

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly his detailed information about your
creditors assets liabilities income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not his this information within
the deadlines selby the Bankruptcy Gode, the
Bankruptcy Rules. and the local rules of the court

For more information about the documents and
their deadlines go to;
http:iiwww.uscourts.oov/bkforms/bankruptcy form

s. htm|#grocedure.

 

Bankruptcy crimes have serious consequences

|f you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury_either orally or in Writing_in
connection Witl‘i a bankruptcy casel you may be
finedl imprisoned or both.

Aii information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney Generai acting through the Cifhce of the
U.S‘ Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on 'v'olunfary Petition for individuals
Fiiing for Bankruptcy (Officia| Form 101). To ensure
that you receive information about your casel
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address

Nottce Required by 11 U_s.i'.‘.d § 3d2(b) for individuals Fiiing for Bankruptcy (Form 2010|

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IDTI|D l1l§C|AM

A married couple may file a bankruptcy case
together_caiied a joint case if you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each noticel
unless you hle a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency, 11 L|.B.E. § 109(h). lfyou are filing ajoint
case. both spouses must receive the briefing With
limited exceptions you must receive it within the 180
days before you file your bankruptcy petitionl This
briefing is usually conducted by telephone or on the
internet.

in additionl after filing a bankruptcy case, you generally
must complete a hnanciai management instructional
course before you can receive a discharge if you are
hling a joint case, both spouses must complete the
course_

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:i'!justice.gov/usfleoihapcpa/ccdeicc approved.html

 

ln Alabama and North Caro|ina, go to:
Mp://www.uscourts.govi'l-"ederalCourts/Bankructcvi'
BankruptcyResourcesiApprovedCredit

And Dethou nselors.asgx_

|f you do not have access to a computer. the clerk of
the bankruptcy court may be able to help you obtain
the list

page 4

Besi Case Bankruptcy

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3il]7i1ll 11;5C|AM

i-`ill in this information to identify your case:

 

 

 

Debtor 1 MAR|ANELA DL|VERA CABALLERO

Firsi Name Midd|e Name Last Name
Debtor 2
(Spouse il, lillngi Firsl Name Middle Name Last Name

United Slates Bankruptcy Court for the: D|STR|C`»T OF NEVADA

 

Case number
(ll‘k"'ewrii ij Check if this is an

amended filing

 

 

Official Form iOBSum

Summary of ‘i’our Assets and Liabilities and Certain Statistica| information 12115
Be as complete and accurate aa possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fi|| out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original formsl you must fill out a new Surni'nary and check the box at the top of this page.

Part 1: Sun'in'iarlze Your Assets

Your assets
Value of what you own

1_ Schedu|e AiB: Property (Official Form 106NE)

 

 

 

 

 

 

is t';opy line 55. Toial real estaie. from Scheduie AiB ................................................................................................ $ °-00
ib, Cepy llrie 62. Toial personal propeny, from achedule A!B s 5 125_24
ic. Copy line 53. Toial of all property cri Schedule AiEi ............................................................................................... 5 51726_24
Summarlze Your Liabilities
‘i'our liabilities
Amount you owe
2. schedule D: Creditors Wfio Have t';iaims Secureci by Property (Cifflclel Form 1060)
2a. Copy the total you listed in Column A. Amount of ciaim, at the bottom of the last page of Part 1 of Scheduie D__, 3 _m
3. Schedi.iie E/F: Crediiors Wiio Have Unsecured Ciaims (leficiai Form 1OBEIF)
ss Copy the total claims from Part 1 (priority unsecured ciaims) from line tie cl acheduie E.'F $ D-UD
Bb. Copy the total claims from Pari 2 (rionprlorlty unsecured claims) from line Bj of Scheduie E/F ............................ $ 53,547.@__
Yeur total iisuiiiues s os,s¢?,L
Summarize Your income and Experises _ _ _
dl. Scheduie i.' Your income (Ofiiciai Form 1tiaij
Copy your combined monthly income from line 12 of Schedul'e i 5 21190‘52
5.' Bci'ieduie J: Your Expenses {Official Form 106J) '
Copy your monthly expenses from line 22c oi Scheduie J .......................................................................... $ 2334-39

Answer These Cti.iestions for Administrative and Statlstical Recoi‘ds

d. Are you filing for bankruptcy under Ghapters 7.11. or 131
|:| No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

l Yes
?. What kind of debt do you have‘i'

- Your debts are primarily consumer debts Ccnsumer debts are those “incurred by ah individual primarily for a personal. famiiy. or
household purpose," 11 Ll.S.Cl. § 1l,`iill5). Fill out lines B-sg for statistical purposes 28 Li.s.o. § 159_

l:| Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules

Official Form tdeum Surnrnary of Your Assots and Liabilities and Certaln Statistical information page 1 of 2

ngiwa,rg Gi;ipyr|`gh| (c;j 1955¢2015 B:isl l.',`.as¢_ LLC 1 wvirw beatease.i:om Eest CBBB Bankruple

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some 11.50Au
Debtor1 MARIANEI_A OLiVERA CABALLERO Case number (i‘fknown)
B. From the Statement of Vour i.'.`urreni.' Monthiy income: Copy your total current monthly income from Ofllciai Form
122A-1 urie 11; on. Form izzo i.ins 11'r oe. Form 122c-1 i.ine 14. °-°°
9. Copy the following special categories of claims from Part 4, line 6 of Sci‘iecl'r.iie E/F:
Total claim
Frorn Part 4 on Scheduie f.““.`.-'F1 copy the following:
Ba. Domestic support obligations (Copy line Sa.) 5 l],i_`)|]
Bb. Taxes and certain other debts you owe the government (Copy line Eib.) S 0_|]|]
ac. Cialms for dealh or personal injury while you were intoxicated (Copy line Ec.) 5 O.Dl]
acl. Studeni loans (Copy line Bf.) 55 _ _ _ D.DD
se. Obiigations arising out of a separation agreement or divorce that you did not report as
priority claims (Copy line dg.) O.Clti
Bf. Debts to pension or profit-sharing plans and other similar debts (Copy line 6h.) +$ O,U[i
sgt Tota|. Add lines se through ef. $ O.Di]
Ofl”ir,-ial Form iodSum Bummary of ‘{our Assets and Liabilities end Certain Statistica| information page 2 of 2

Soi'iwaro C.opyrighi lc] 1995-2015 Besl Caee. LLC - www.beetcase.com Best Cese Bankruptcy

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JiD'i'IiB 'ii:ElJAM

Fiii in this information to identify your case and this iiiing:
Debtor 1 MAR|ANELA UL|VERA CAEALLERO

Fith Name Middiei Name L:Mt Nai‘i'ib
Debtor 2
(Spoi.isei_ if i'¢ling] First N;mn Middlei Name Last Name
United States Bankruptcy Gouri for the: D|STRICT OF NEVADA
CHSB ill-lmbe i;l Check ifthis is an

 

amended filing

 

Officia| Form 106All3
Scheduie AIB: Property eis

in each category. separately list and describe items l.lst an asset only once. if an asset fits in more than one cotegory, list the asset in the category where you
think it fits best Be as complete and accurate as possible. ll two married people are filing together. both are equally responsible for supplying correct
information. if more space is noeded, attach a separate shoot to this form. On the top of any additional pages write your name end case numberllf knownl.
Answer every question.

Deocribe Each Reeidence, Buiidingr Land, or Other Reai Estate You Own or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, bulldlng, |and. or similar property?

l i~io. on to Pari 2.
m Yes. Where is the property?

Deacribe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles whether they are registered or not? include any vehicles you own that
someone else drives lfyou lease a vehicle_ also report it on Schecli.il'e G: Executory Coniracts and Unexplred Leases.

 

3. Cers, vans. trucks tractors sport utility vehicles motorcycles

|:i No
- Yes
. Do not deduct secured claims or exemptions Pul

3.1 iviaice. TDYOTA Wl'io has an interest in the property‘? chase one me amm|m many Bepwed claims nn Schedule D__
Moooi: CAMRY I palmer 1 only Crediiors Wlio Have Claims Sacurad by property
Year; 2004 m clebe 2 °“llr‘ \.'lun'ent value of the Cui'rent value of the
Anproxirnole mileage 145000 l:l Debtor 1 and debtor 2 oniy entire ProP*-’l'lil? million itel-l '-'iWI\?
Olher informalion: l:i At least one oi the debtors and another

 

RDUGH COND|TIONS
El cheek ifthis is community property $1,'¢'00£` l $1 z'M_

(soo instn.iolionsl

 

 

rl, Watercraft, alrcraft, motor homes ATVs and other recreational vehiclesl other vehicles and accessories
Exampies: Boets. trailers motors personal waiercrai”t. iishing vesselsl snowmobiles, motorcycle accessories

' f~io
ij Yes

5 Add the dollar value of the portion you own for all of your entries from Pert 2. including any entries for
pages you have attached for Part 2. erte that number here.. ..... ....=>

$1,700.00

 

 

Des¢:ritie ‘rour Personai and Housohoid items _ _
Do you"r‘iw'n or have any legal or equitable interest in any of the following iteina? Current value of the
portion you own'il
Do not deduct secured
claims or exemptions

 

6. Household goods and furnishings
Exempies: liiialor appliances furniture. linens chlne. kitchenware

l:l No
leficial Form iC|EiAiB Schedule NB: Property page 1
animals copyright rel isse-soia seat cass LLc - www.t>oaioaae.oom ae=i case esniu-...piey

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ZNFIW 11:5C|AM

Debtorl MAR|ANELA DL|VERA CABALLERO Case number rlrknown)

 

l Yes. Descnbe .....

 

|TAsl_Es, coucH, eeo sET __ _______ s1,sno.oe

 

7, Eleol:ronics
Exarnp.les.' Teievisions and radios; audio, video, stereo, and digital equipment; tttornl:n.llensl printersll scanners; music collectionsl electronic devices
including cell phones, camerss, media piayers, games

i;l No
l Yes, Describa .....

 

|Tv's. i<chl-lEN APPL|ANcEs | se,ooq_g

 

B. ¢.`.-o|lectilnles of value
Exam,oies: Antiques end figurines; paintingsl prints or other artwcrir; hooks pictures or other art objects stamp. coin. or baseball card collections
other collections memorebilla, collectib|es

l No
El Yes. Describe .....

9. Equipment for sports and hobhies
Exampies: Sports l:ihotographicl exercise. and other hobby equipmenl; bicycles pool tables golf clubs skls; canoes and keyaks; carpentry lools;
musical instruments

l No
l;i Yes. Describe _____

10. Firearms
Exam,oies_' Fistois_ nfies, shotguns, ammunition, and related equipment

l nio
l:i 1t'es. Descn`be.._._

11. Clothes
Exampl'es: Everyday ciothes. furs. leather coatsl designer wear. shoes. accessories

i;i No
- Yes. Describe .....

 

sHoEs, cLoTHEs ______ ssoc.oc

 

12. .Jewalry
Examples.' Everyday lewelry. costume lewe|ry. engagement rings. wedding rings. heirioon'l lewe|ly. watches gems goldl silver

l No
i:i Yes. Describe .....

13. dion-farm animals
E.tremples: Dogs. cats. birds. horses

l No
i:i Yes. Describe.....

14. Any other personal and household items you did not already iist, including any health aids you did not list
- No
|:| Yes. Give specific information .....

 

15. Add the dollar value of ali of your entries from Fart 3 including any entries for pages you have attached
for Part 3. Write that number here.. ...... $4,000.00

 

 

 

essence Your Financial Assats
Do you own or have any legal or equitable interest in any of the following? Current value et the
portion you own?
Do not deduct secured
claims or exemptions

 

Official Form 10EAIB Schedu|e AfEl: Property page 2
Snltwar¢r copyright lc) 1'996»2015 Elesl Eese. LLC. -umw.bealcase.ccm Besl Case Bankruptcy

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liDi'fi!l 11'5UAM
Debtor 1 MARlANELA o__Llyl_ERA cAaALLERo fires number liiii"e“'"l _. _ _ _ _
16. Cash
Exampies: |Vloney you have in your wailet, in your home. in a safe deposit box, and on hand when you iile your petition
l No
l:i Yes ................................................................................................................

17. l'.'leposits of money
Exampies: Checiilng. savings or other financial accounts certificates of deposit shares in credit unions brokerage houses. end other similar
institutions if you have multiple accounts with the same institution. list each.

 

 

El No

- Ye$ ________________________ institution name:
17.1. CHECKING ONE NEVADA CRED|T UNlON $16.24
i“r.2. SAVINGS ONE liIEVADA CREDIT UNION $10,00

 

 

'iB. Bends, mutual fundsl or publicly traded stocks
Exampies: Elond funds investment accounts with brokerage firmsl money market accounts

l No
l:l Yes..i___......._i._‘ institution or issuer name:

19. Non-pub|iciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLi'.`., partnership, and
joint venture

li~io

l:i Yes. Give specific information about ihem_......t...........
Name of enfity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiabie instruments include personal checks cashiers' checks promissory notes and money orders
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them.

-No

l;l Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Exemplas.' interests in iFtllll.l ER|EA, i-(eegh, 401(ir), 403(b), thrift savings accounts, or other pension or profit-sharing plans

-No

l:l Yes. List each account separatelyl
Type of aocount: institution name:

22. Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Exampias.' Agreemenls with iandiords. prepaid rentl public utilities (eiectric. gas, water). telecommunications companies, or others

- No
l:l Yes. ..................... institution name cr individuai;

23. Anni.rities lA contract for a periodic payment of money to you. either for life or for a number of yeafs)

. No .
|:| Yes _____________ issuer name and description.

24. interests in an education |RA, itt an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 53C|tb)(1). 529A{i:i). and 529(b)(1l.

l No
|:[ yes _____________ institution name end description Soparaiely tila the records of any inierosts.tt U.S_C_ § 521tc):

25. Trust.s, equitable or l'i.lti.lre interests ll'l property lot|'lei‘ than anything listed |n line *il, and rights or powers exercisable for your benefit
- No
l:l Yesi Give specific information about them.,.
26. Patents, copyrights, trademarksl trade secrets, and other intellectual property
Examples.' internal domain names wobsites proceeds from royalties and licensing agreements
- No

Official Form ‘lCli.iA/B Scheduie AiB: Property page 3

Soltwar= Eopyrighl (c) 1995-wind Basli:aaa. LLC - unnv.baslcaea.ccrn F.iasi Caso Bankruptcy

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ami'ii\ii 1 tcoonii.i
Debtor'i N|AR|ANE|_A QL|\£ERA_C&AL[_ERQ Case number (irimown)

 

i:i Ves. Give specific information about them...

2i'. Licenses, franchises and other general intangibles
Exampies.' Eiuiid|ng permits exclusive licenses, cooperative association holdingsr liquor licensesl professional licenses

- No
i:i Yes. Give specific information about them...

lllloney cr property owed tc ycu? Currant value of the
portion you own'i‘
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

i:i No
l Yes. Give specific information about them. including whether you already filed the returns and the tax years .......

 

 

2018 TAX REFUND _ FEDERAL $U.UD

 

 

 

2a Famiiy support
Exempies.' Pest due cr lump sum allmony, spousal support child support maintenance. divorce settlementl property settlement

.No

l;i Yes. Give specitic information ......

30. Other amounts someone owes you
Examp!es.' Unpaid Wages. disability insurance payments, disability benefits, sick payr vacation pay, wortters’ compensation, Social Security
benefits unpaid loans you made to someone else

- No
i:l Yes, Give specific informaticn,.

31, interests in insurance policies
Exempies: Health, disabilityl or life insurance: health savings account tHSAi.' credit. hcmecwner's or renter's insurance

.Nc

i:i Yes. Name the insurance company of each policy and list its value,
Cott'ipat'ty name: Benefioiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
|f you are the beneficiary of a living trustl expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has dled.

l No
l:i Yes. Give specific information..

as Clalms against third parties whether cr not you have filed a lawsuit cr made a demand for payment
Exampfes.' Accidents, employment disputes, insurance claims, or rights to sua

l No
l:f Yes. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to setoff claims
- No
i:l Yes. Descrlbe each claim .........

35. Any financial assets you did not already list
l Nc

i:l Yes_ Give specific information..

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here............ ...... ...... $26‘24

 

 

 

Est_:rlbe Any Business-Eeleted Property You Clwn or Have an interest in. List any real estate in Part 1.

l.‘]t"ficial Form 106NB Echadule AiB: Property page 4
Eottwere Copynpht ici 1995-2018 Bast Case. LLC - unw.l:iestcasa.com Best t';a.-,e Bankruptcy

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alamo rosenn
D€llll¢i"i MAR|ANELA OL|VEM__Q_§EALLERO CHSE number fifkncwnl
3?. Eio you own or have any legal or equitable interest in any business-related pmparty'i"
l Nc. Go ic Parttit
l:l ‘Y`es. Go to line JB.
Part B' Descrlbe Any Fan'n- and Commerclal Flshlng-Raiated Property You Dwn or Have an interest tri,
if you own cr have an interest in iarmianr:i, iist it in Part 1.
iiti_ Do you own or have any legal or equitable interest in any tarm~ or commercial fishing-reiated property?
l No. eo to Psri r.
l:l Yee. Go to line 41
Descrlbe Al| Property You Own or Have an interest in That You Did Not List At;iove
53. Do you have other property of any kind you did not already list?
Exampies.' Season ticketsl country i.‘.|t.ib membership
- No
E| Yes_ Give specific information .........
54. Add the dollar value of ell of your entries from Part 7. Write that number hare $n_pp
Listihe retain of Eacir san citrus Form _
55. Part'i: Total real estate. line 2 .. $D.lllti
55. Part 2: Total vehicles, line 5 $"i,TDO.DD
57. Part 3: Total personal and household items line 15 $4,000_0{]
58. Fart 4: Total financial assets, line 35 $26_24
59. Part 5: Total business-related proparty, line 45 §i]_i](_t
60. Part E: Total tarrn- and flshing»reiated property, line 52 $0_00
51. Part 7: Total other property not llsted. line 54 + _ §D.OD
52 Total personal property. Add lines 56 through Ei'i $5‘72$,24 Ccpy personal property total _ §§ 726,24
E$, Total of ali property on Scheduie AiB_ Add line 55 + line 62 $5,725_24
Otticiai Form initiate Schedule AIB: Property page 5

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3ir‘.'i'ii19 11:50AM

Fiii in this information to identify your caso:

Debl°i‘ 1 dFl,l”f'l_r_AR|.N\|ELA OL|VERA CAEQLLERD __
i=iret Name Middie Name Leat Name

Debtor 2

tSpouae ri. flilng] _FiEt Name Middie Name Leat Name _

 

 

 

Uniied Staies Bankruptcy Couri for the.' DiSTRlCT OF NEVADA

 

Case number
(rrirnowni |:| Checit if this is an

amendBd filing

 

 

Ofiicia| Form 1060
Schedule C: The Property You Claim as Exempt: sue

Eie as complete and accurate as possible, if two married people are filing tcgether. both are equally responsible for supplying correct information Ueing
the property you listed on Schedule A/E.' Property (Ofiiciai Form iiiEAlB) as your source, list the property that you claim as exempt if more space is
needed, fill out and attach to this page as many copies of Part 2: Additionat Page as necessary On the top of any additional pages write your name and
case number tit known).

For each item of property you claim as exemptl you must specify the amount cf the exemption you ciaim. Cine way of doing so is to state a
specific dollar amount as exempt Alternative|y, you may c|a|rn the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefitsl and tait-exempt retirement
funds-may be unlimited in dollar amount. However. if you claim an exemption of 100% of fair market value under a law that ||l'l'iltis the
exemption to a particular dollar amount end the value of the property is determined to exceed that amount. your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
1. Which set of exemptions are you ciaimlng? Check one only, even if your spouse is filing with you.
- You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(|:»)(3)
l:l You are claiming federal exemptions 11 UiS.C-. § 522(|;1}(2)

2. For any property you list on Scheduie A/B that you claim as exemptr fill in the infonhation below.

Erief description ot the property and lino on ¢urrent value of the Amotint of the exemption you claim Specific laws that allow exemption
Soheduie Are that lists this property portion you own

Copy the value from Ghet:ir only one box for each exemption

Sciieduie A/B
2004 TOYDTA CAMRY 145000 t‘nIles 51 700_00 - $1’700_00 Nev. Rev. Stal;. § 21.090[1)(0
ROLlGH CDNDIT|ONS _' _
Line from Scheo'ufe A/B: 3.1 l:l 100% of fair market value, up to

any applicable statutory limit

 

TABLES, CDUCH, BED SET s1 500_00 - $1’500_00 Nev. Rev. Stat;. § 21.090(1]tb)
Line from Scheduie A/Ei.' E.'i _' _
l:-l 100% of fair market value, up to
any applicable statutory limit

 

TV'S, KlTCHEN APPL|ANCES 52 000_00 . $2]0°0_00 Nev. Rev. Stat. § Zi.UEUi'liib)

Line from Scnedule A/B: 'i’.1 _' _-

` m 1'00% of fair market value, up to
any applicable statutory limit

 

SHGES' CL°THES ssco.oo l $suo.oo N*i“'- R¢\'- Si'ai- § 21*09i?li‘lltbi
Line from Scneduia A/B; lt‘t.'i _ _____

 

l;l 'lt)D% of fair market value. up to
any applicable statutory limit

 

CHECK|NG: ONE NEVADA CRED]T 516 24 l 75% Ne\r. Rev. Stat. § 21.090(1](9)
UN|UN _' _ -'
Line from Scheduie AfB: 17.'1 l;l 'ltit]% affair market value, up to

any applicable statutory limit

 

Ofiicial Fon'n 'ii‘.lEC Schedule C: The Property You Claim as Exempt page 1 of 2
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Dei“°r‘ MEBNL&E.LLYEE&§A§N=!:.EBQ _... . .

Amt‘:\l.lrlt Df lhB BKBmpliUl'l yCrl.l claim

Cese number rif known)

3107fo 11:50AM

 

 

 

 

 

Brief description of the property and line on Current value of the Bpeclflc laws that allow EXEmplel'l
Schedut'e AIE that lists this property portion you own
Copy the value from Cfracir only one box ior'Bal.'.‘fl exemptful'i.
Bchadufe A/El
CHECK|NG: ONE NEVADA CRED|T 515 24 l $4_05 Nev. Rev. Stat. § 21.090(1}(2]
UN|CN '
Line l'rorn Scheclufe A/B: ‘f"f.`l m 100% of fair market value, up to
any applicable statutory limit
SAVlNGE: ONE NEVADA CRED[T 310 no - ?5% Nev. Rev. S'l:at. § 21.090(1)(§}
UNlON 1 - - - _
one from schedule A/a; 11.2 El roo% aftermarket value up to
any applicable statutory limit
SAV[NGS: ONE NEVADA BRED]T $.m 00 . $2_50 Nev. Rev. Stat. § 21.090{1){2)
UNlON ' -
Line from Schedufe A/B: 'l'i".Z n ‘l[iO% affair market valuel up to
any applicable statutory limit
FEDERAL: 2010 TAX REFUND $u 00 - $9 993'44 Nev. Rev. Stat. § 21.090[1]{2)
Line from Schacfufe A:'B: 28.'1 ~:_- '
i:l loo% of fair market yalue. up to

any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than 5150,375?
(Suoject to adjustment on cfoltie and every 3 years after that for cases filed on or alter the date of ed]ustment.)

- No
f:l Yes. Did you acquire the properly covered by the exemption within 1.215 days before you filed this ease?
f:l No
l:l Yes
Dfl‘lcial Form mac thadu|e C: The Property Vou Claim as Exempt

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page 2 of 2

Best Caee Bankruptcy

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3"07|'¥§ ll:BDA.M

Fi|l in this information to identify your case:

Debtor 'l MAR|ANEL.A OLIVERA CABALLERO

Firal Name Mlddle Name Lasi Name

 

Debtor 2 g ___ _
(Spouso if. lilirlgl Firsl Name Mldole Name Lasl Name " _ _

 

Uniied States Bankruptcy Court for the: DlSTRlCT C`,lF NEVADA

 

Case number
(irl¢newn) |:| Cl'recft it this is art
amended filing

 

 

 

Offioial Form 106D
SGhedule D: Creditors Who Have Glaims Secured by Property 12115

Ele as complete and accurate as possible. lf two married people are filing together. beth are equally responsible for supplying correct lnfon-natlon. ir more space
ls needed, copy the Addltlona| Page. fill lt out. number the ehtries, and attach it to this form. Dn the top of any additional pagee, write your name and case
number rif knewri}.

1. Do any creditors have claims secured by your proberty?
- Nc. Checl< this box and submit this forth to the court with your other schedules You have nothing else to report on this form‘
l:l Yes. Fil| in all of the information below_

Cll°ticial Form 'lOBD Schedu|e D: Creditors Who Have Cfaims Secured by Property page 1 of1
Sof‘|wam Ci:ipyrigl'l'l (c] 1995-2015 Be!l CBBB. LLC -www.heslease.i'lf.‘ilr'i Eo$t Caso Bankruptcy

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alamo 11 scm
Fill fn this information to identify your case:

Debtor 1 MAR|ANELA OLlVERA CABALLERO

Fl`rst Name Niiodls Name Lasl Name

 

Debtor 2
[Spouse lfl flilngl Flret Name

 

MlUCllB NE|T|B LEBlZ NE|'HB

United States Bankruptcy Court for lhe: DlSTR|CT OF NEVADA

 

Case number
rif knownl |:l Check if this is an

amended filing

 

 

 

Cifiicia| Form 106E/F
Schedu|e EtF: Creditors Who Have Unsecured Claims 12t15

Ee as complete and accurate as posslhlo. Llse Part1 for creditors with PRlOR|TY claims and F'art 2 for creditors with NONF'R|ORITY claims. List the other party to
any executory contracts or unexpired leases that could result ln a clalm. Also list executory contracts on Bchedule NB: Property (Efflclal Form iiiEAtB] and on
Scheduie E: Executory Contracts and Unexpired Leases {Dfiiciai Form 1DGG}. l`.lo not lnclude any creditors with partially secured claims that are listed in
Schedule D: Credltors who Have C.iaims assured by Property. if more space is needed, copy the Part you need, fill lt out, number the entries in the boxes on the
|eft. Attactl the Contlnuation Page to this psge. ifyou have no information to report in a Part. do not file that Part. On the top of any additional paoas. write your
name and case number iii known|.

Part 1; List All of ‘tour PR|OR|TY Unsecured claims
1. Do any creditors have priority unsecured claims against you?
l No. Go to Part 2.

l:l Yoc.
m List Aii or Your NoNPeioRiTY unsecured claims

3. Do any creditors have nonprlorlty unsecured claims against you?

 

 

ij No. You have nothing to report in this part. Eubmit this form to the court with your other schedules
l Yes.

ril. List all of your nonpriorlty unsecured claims ill the alphabetical order ofthe creditor who holds each clalm. ll a creditor has more than one nonpriorlty
unsecured claiml list the creditor separately for each claim. For each claim listed identify what type or claim lt ls. Do not list claims already included in Psrt‘l if more
than one creditor holds a particular oiaim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured Cialrl'ls il|| out tile Corll|rluatforl Paqe Df
Part 2

Total claim

m -l AC|MA CRED|T FKA Last 4 digits of account number
Non priority Credltors Name
BB15 S. MONROSE ST FL4

Sandy, UT 84070

$4!292,00

 

When was the debt incurred? 2i20‘l 8

 

 

Numbar Streel, Gily State le Eor.le

Who incurred the debt? Checl< one.

. Debtor1 only

l;l Debtor 2 only

i..__l Debtor1 and Debtor 2 only

El Al least one of the debtors and another

i:f ¢heclt lf this claim ls for a community
debt

is the claim subject to offset'?
- NQ
n Yes

As of the date you file. the claim ls: Gheclt all that apply

l:l Conilngent
l;l unliquidated

l:l Dlsputeci
Typa of NDNPR|OR|TY unsecured clalm:

f:l Studenl loans

l:f obligations arising out or a separation agreement or divorce that you did not
report as priority claims

l:l Debts to pension or profit-sharing |;ilansl and other similar debts
- Other. Speclfy _USTALLMENTS

 

 

C)ifioiat Form 106 EfF

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Scl'ledule El'F; Creditors Who Have Unsecllred Claims

Page 'l of14
26194 f:'lest Case Bankruptcy

Case 19-11312-ab|

 

Nonpriority Crediior's Name
7330 W. 33RD ST N #113
Wichita. K$ 67205

 

Number Btreet Ciiy Blate Zip Code
Who incurred the debt‘i' Check one.

l Dabtor‘l only

n Debtor 2 only

m Debtor'l and Debtorz only

El Ai least one ot the debtors and another

i:l Checit lt this claim is tore community
debt

ls the claim subject to offset?

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:`iiti'iilU 11:50AM
Ceee number (lrlrndw)

 

Lastedlgits of account number $2,125.00

When was the debt tncurred? 6]201$

As of the date you iiie. the claim is: check eli that apply

l:| Contingent
i:l unliquidated

m Disputed
Type of NDNPR|DRFTV unsecured ciaim:

i:l Siudent loans

m Ob|`igaiions arising out cfa separation agreement or divorce that you did not
report aa priority claims

m Debts to pension or protit-sharlhg plans, and other similar debts

l gmc gpacyy COLLECT|ON "RAP|D CASH“

 

 

- No
m Yes
4-3 BANK DF AN|ERICA

 

Nonpriority Creditor's Name
PO BOX 982233

El Faao, TX TBBBB
Number Street City State le Code

Who incurred the debt'i' Chsci< one.

- Debtort only

l:i oaotor 2 only

n Debtor 1 and Debtor2 only

i:l Atieast one oi the_ debtors and another

n Checlt if this claim is for a community
debt
ls the claim subject to offset?

 

Last it digits of account number $SDU.UU

When was the debt lncurred? UNKNOWN

 

As of the date you flie, the claim is: Ci'ieck all that apply

i:i Contingent

E| unliquidated

i:l Disputed

Type of NGNPRlDRiTY unsecured c|a|m:
ij Studant loans

m Otiilgatlons arising out ol a separation agreement or divorce that you did not
report as priority claims

 

 

 

l go m Debis to pension or profit-sharing plans. and other similar debts
i:l ‘r`es . Othar. Speoify
4.4 BARCLAYS BANK DELAWARE Last4 digits oiaccol.lnt number $2!766.00
Nonpriority Crediior‘s Name
PD BDX 5303 When was the debt incurred? 11i'2i`,i't7

Wilmington, DE 1989‘3
Number Street City State Zip Code

Who incurred the debt? Cheok one.

- Debtor1 only

i:i Debtor 2 only

|:l Debtor‘l and Debtor 2 only

n At. least Dl'iB Uf the debtors Bi"id Hl'lGU‘iEt'

m Chel;:it if this claim is for a community
debt
is the claim subject to offset?

l No
m Yes

 

As oi the date you ilie. the claim is: Checlt all that apply

l:l Contingent
|:i unliquidated

m Disputel:i
Type of NONPR|UR|TY unsecured clalm:
m Student loans

n Dbiigations arising out or a separation agreement or divorce that you did not
report as priority claims

n Deots to pension or profit-sharing plans. and other similar debts

- other speciry REVOLV|NG ACCC\UNT

 

 

thioial Form 106 EIF
Soilware Eopynghl ici 1995-2015 Elest Case. LLC -wwwii:isstcase.com

Bci‘ledule Ech Credltors Who Have Linsecured Ciaims

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Case 19-11312-ab|

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acme rl.-sunii
Dabiari MAR|ANELA OLiVERA CAEALLERO Caaa number iii in¢wi
4.5 l CAP[TA|_ []NE BANK USA Last it digits of account number _H__ _ ELTDS_O_B_
Nonpriority C.‘.rediior's Name `
15000 GAPlTAL ONE DR., When was thii debt incurrad? Ei2012
RlCHMOND, VA 23238v _ _
Number Siraet G`ity Stata le Code Aa of the date you filel the claim is: Gnecil ali that apply
Who incurred the debt? Check one.
l Debtort only i:i Gontingent
i:l Debtor 2 only |:| L|n|ii;tuldated
ij Debtori and Debtor 2 only i:l Dispuied
i:i At least one ot the debtors and another TYP° °f NENPR'ER'TY '-""'5°¢""°¢' ¢'a'm=
ill check ii this claim la for a community m Ei“der'i '°E"B
debt i:l C>biigaiiens arising out cl a separation agreement or divorce that you did not
la the claim subject to offeet? report as priority claims
l Nc. m Debis to pension or profit-sharing plans. and other similar debts
n Yes l Dl,her. Specify REVOLVING
4.El CAS|-j ‘j Last 4 digits of account number i_jnkngwn
Nonpriority Crediior's Narne
pg ggx 4115 when weather debt incurred? UNKNC|WN

Concord, CA 94524

 

Number Street Clty State Zip Code

Who incurred the deht? Chel:ir one.

- Debtor‘i only

m Debtor 2 only

n Debtort and Debtor 2 only

m At least one of the debtors and another

n t.'tl'iecil ifthis claim is for a community
debt

is the claim subject to oilset‘i'

 

As ot' the date you tilel the claim is: Checit ai| that apply

cl Contingeni

i:i Unl|quieated

iI| oiapuleri

Type of NDNPR|GR|TY unsecured ciaim:
i:l Studeni loans

i:l Cibligationa arising out ofa separation agreement or divorce that you did not
report as priority claims

 

 

 

l N¢, l:i Debis tc pension or pruitt-sharing plans. and other similar debts
m "'EB - Other. Speciiy
d.'i' CENA Last 4 digits of account number $1 To¢‘|._t]|]
Ncnprionty creditors Name
PO BOX 5491' When was the debt incurred? 212014

§.'eits.'ielisi,§§é!_i_il_ _
Number Sireef City Staie Zip Code

Who incurred the debt'? Chec|t one.

l cantor 1 only

m Debtor 2 only

l:i Debtor 1 and Debtor 2 only

m At least one of the debtors and another

i:l Checit ii this claim is for a community
debt
ls the claim subject to offset?

- No
ill rea

 

Aa of the date you ti|e, the o|alm is: Check all that apply

i:i Contingant
El unliquidated

i:| oidputed
Type of Nonl=nlonlr‘r unsecured claim:

n Stuoent loans

n Ob|igalions arising out ol a separation agreement or divorce lhai you did not
report as priority claims

n Dei:lts to pension or profit-sharing plans. arld other similar debts

l other_ ppgcyy GDOD YEAR TlRE (REVDLV|NG ACCDL|NT)

 

 

Oiiicial Form iiJEi EiF
Soi'iwara Eopyrighl tci 1996-2518 Easl C-ase. LLC.`-

Scheduie EiF: Creditors Who Have Unsecured i.'.'-laims

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Eest Ca:u Bankruptcy

Debtor 1 N|AR|ANELA OLlVERA CABALLERO

Case 19-11312-ab|

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Case number (illindw)

 

 

4-3 CHABE BANK ONE CARD SERV

 

Nonpriority Creci|tors Name
PO BOX 15298
Wi|mington, DE tsi-150

 

Number Streei Clly State le Code

Who incurred the debt'i’ Checl< one.

- Debtort only

ij Debtor 2 only

i:l Debtor'l and Debtor 2 only

i:i At ieastone cline debtors and another

ij Ci‘lecit if this claim is fora community
debt
le the claim subject to cffaat?

Lasf'. 4 digits of account number $4!409.0\'.\

When was the debt lncurred? 2i'20'15

As of the date you f'ile, the claim is: Chec.it all that apply

i:i Ceniingent
l:| unliquidated

i:i Dispuied
Type of NONPR|OR|TY unsecured clalm‘.
i:i Stul;lent loans

ij Obllgatlons arising out of a separation agreement or divorce thatyou did not
repon as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- No ij Debis to pension or proiii»shar|ng plans. and other similar debts
i:i Yes l other. apache REVDLV[NG (2 ACCDUNTS)
4-9 CHECK ClTY Lar»t-i digits of account number 7779 $2,500.00
Nonpriority creditors Name
PCi E.D}i'. 1259 When was the debt incurred? UNKNOW _
Oake, PA 15456
Number Sf;reat City Sf;aie Z|p l'_`.ode As of the date you file, the claim is: Cheoit ali that apply
Who incurred the debt? Checii one.
l Debtort only i:l Coniingent
|:i center 2 only l;l unliquidated
m Debtor‘i and Debtor 2 only i:i D|sputsd
i:i At least one oi the debtors and another TVPE of NONFR'°R|TY unsecured °'“|m:
l:[ Checit if this claim ia for a community E St'"'dem |°3"5
debt i:l Clbilgat|ons arising out of a separation agreement or divorce that you did riot
lathe claim aubjact to offaet'i‘ report as priority claims
- Nq i:l Debia f.o pension or profit-sharing plana, and other similar debts
i:i Yes - Dther. Spegify ClVlL SUMMONS #'i BCDZ'I'!'I'S
4.1
0 CoMENlTY BANKI VCTRSSEC Last 4 l;iigl'tiitl of account number $1,651.00
Nonpriority Credltors Name
PCi BC\X 152739 When was the debt incun‘ed'il 31201 3
Columbl.ls, Di-i 4321B
Number Slreet Cliy state Zip Code As ot the date you t'ilel the claim is: Cheoit all that apply
Who incurred the debt? t'.‘.heclt one.
- Debtor 1 only i:l Coniingeni
i:i oeelor 2 only |:i unliquidated
[:| Debtor 1 and Debtor 2 only i:i Dlsputed
|:| At lea$t ana tjme debtors and another Type of NONPR|UR|T\‘ unsecured ciaim:
L__i Checir if this claim is fora community m Su"de'“ '°5"5‘
d@bl ij obligations arising out of a separation agreement or divorce that you did not
is the claim subject to oiiset'? report as priority claims
l gun L_..i Debts to pension or profit-sharing plans. and other similar debts
m YBS - C||_her` Spec|ry REVOLV|NG
Ciilicial Form too EiF schedule EiF: creditors Who Have Unsecured ¢.`:laims Fage il of te

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Debtort MAR|ANE[_A tj|_|vERA CAEA|_LERO Cese number (iri<naw)
till
1 CGNNS CRED|T CDRP Last d digits of account number UnkHDWii
Nonpriority Cretiltor's Name _ _ ' _ " _ n _ ` '_ _F `
3295 COLL.EGE ST When was the debt incurred? UNKNDWN
Boaurn ont, TX 77701
Number Sti'eat Cily Si.ate Zip Eode Aa of the date you file, the claim le: Checlt ali that apply
Who incurred the debt? shock one.
- Debtor‘i only i:i Conlihgent
|:| Debtor 2 only i;i unliquidated
m Debtor 'l and Debtor 2 only m Dlaputad
i:i At least one oi the debtors and another TVPe uf NONPRIDR'TY u"eeeu'eu e'euru
i:i Checit if this claim is fora community n Sh"de"'t mens
debt i:i Obllgations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
I ND i;i Debta to pension or profit-sharing plans. and other similar debts
n YBS l other specify
4.1
g CURACAD _ Last 4 digits cf account number $3,57`1-00
Nonpriority Creditol‘s Name
1605 W. OLYMPlC ELVD STE 600 When was the debt lncurred? 'l 'ii20'i ?
Loa Angeies. CA BtJD'i 5
Number Streei City State .i.'lo Code As ofthe date you fl|a. the claim is: Checit all thatapp|y
Who incurred the debt'? Checit one.
l Debtor 1 only |Ii contingent
i:l Debtor 2 only i:i i.|nllqulttated
i:l Debtor1 and Debtor2 only i;l Disputed
|:| m laaar ana ny rha aanrara ana annynar Type of NGNPRIOFtlT‘l' unsecured claim:
i:i C-heck if this claim le fora community m Swdem mens
debt i:i Obiigaiions arising out of a separation agreement or divorce that you did not
is the claim subject to otiset? report as priority claims
l Ng ij Debts to pension or pruitt-sharing plans. and other similar debts
i:i Yes - gthar_ gpectt=y REVC|'LV|NG
4.1
3 DiScOVER FiNc[-. SVC LLC Last itt digits of account number $5,29'|].00
Nonpriority Creditor's Name _
PO BDX 15316 When was the debt |ncurred? 1!2014
_W.ttrd'istse.i_tts._talt§£n-_,.. _ . _
Number Streei City Slate le Code Aa of the date you iiie, the claim Ia: Checlt all that apply
Wi'lo incurred thc debt? shock one.
l nestor 1 only El contingent
El nestor 2 only El unliquidated
i:i Debtor 1 and Debtor 2 only i:i Dispuied
'|:| N laaat ana af tha dabrora anr'j another Type of NDNPR|OR|TY unsecured ciaim:
i;l Checit ii this claim is for a community cl Sluuem mens
debt i:i Ob|igaiions arising out o|' e separation agreement or divorce thatyou did not
is the claim subject to offset? report as priority claims
l Nu i:i Deth to pension or profit-sharing plansl and other similar debts
n YEs - Cltht:_\r_ Epg¢,'tfy REVOLV|NG
Ol‘t'li;ie| Form ins E.'F Scheciula ElF: t:redltors Who Have Unsecurod C|a|ms Page 5 of14

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d.‘t
4 DSNBIMACYS Last 4 digits ot account number $540.00
Nonpriority Credltor's Name
PCi EDX 8218 When wastes debt inourrad'ir 71201 2
Monroe OH 45050 f ____ '
Number Street Clty state le Col:ie As ol' the date you file, the claim is: C.heclt all that apply
Who incurred the debt? t_‘.‘.haciit one_
- Debtor1 only l:l Centingent
i:i Debtor 2 only Ei Unllquldated
i:i Debtor 1 end center 2 only i:l niaputed
i:i At least one of the debtors and another TYi'-‘e et NDNPR"JR'TY u“t"eeu"eu tueth
i:i Chticit if this claim is icra community m mueth tueue
debt i:i Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to ctieet? report as priority claims
- Nt:t m DBDLS to pension or pl‘oiit-sharing plans. and other similar debts
i:i Yes - othet_ Sttet;|rtt lH-R_`i§,_\i{it:\L"ii'ii"liG ACCUUNT
tiii.1
5 PAY PAi. CRED|T Last 4 digits of account number $4,341.00
Nonpriority Creditor's Name
PC| BC|X 1 DSBEB When was the debt lncurred'i' UNKNOWN
wlagainst cA costa
Number Street C|ty Siaie Z|p Cotie As of the date you flie, the claim is: Etleclt all that apply
Who incurred the debt'? Chel:it one.
l Debtor 't only i:i C.ont|ngent
i:i Debtor 2 only i:i unliquidated
i:i Debtor 1 and Debtor 2 only i:i Dlsputed
|:| At taaat ana aytha dahtara ana anathar Type of NONPR|DRITY unsecured clalm:
ij Check ifthis claim is for a community m St“de"'t '°E""e
debt i:i Dbllgatlons arising out oia separation agreement or divorce that you did not
le the claim subject to offset? repon as priority claims
- tug i:i Dabla to pension or profit-sharing plans. and other similar debts
n YEE - OthBt-_ Spggjfy cREDiT
4.1
a anTFDt-ID RECDVERY Last4 digits oiaccount number $1,66‘1.00
Nonpriority Crediior's Name-
120 CDRTPORATE ELVD #1 When was the debt innurrnd'? _BiZthB
Nol'folk, VA 23502
Number Streai City Siate le Code As of the date you nle. the claim ls; C.hecit all that apply
Who incurred the deht'i' C.heclt one.
- Debtor1 only i:i Contlngoni
Ei center 2 only l:i unliquidated
i:i Debtor1 and Debtor 2 only i:i Dlsputed
|:1 At taaat ana at tha dahtara and ttth._,tthtt.r Type of NC|NPR|C|R|TY unsecured clal'm:
n Checit if this claim ls fora community n utude"t lee"'e
debt m l.'.ibl|gatlnns arising out ol'a separation agreementh divorce that you did not
ls the claim subject to offset? report as priority claims
- Nt;t i:i Debts to pension or profit-sharing plans, and other similar debts
i:i yes l owen attach lt'_.iBLLEt'.`TiOl‘ti “COMEN|TY BANK"
official Form 106 E.tF Schedule EiiF: Creditors Who Have i.insecured Clalms Page E of 14

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DEbiBi 1 MARIANELA LNERA_ §Y&l_.trERO

 

 

 

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Case number (ll ltnowl

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4,1

7 PORTFOL|O RECOVERY Last rt digits oi account number $2,343-00
Nonpriority Creditor's Name
120 CORTPGRATE BLVD #'i When was the debt incurred? gj?,,t}~| n
Norfolk, VA 23502
Number Straet Clty State le Eode As of the date you ille, the claim is: C.hecit all thei apply
ii'iiii‘le incurred the debt? t',‘.hecit onsr
. Debtor 1 duty i:i Contingent
i:i Debtor 2 only n unliquidated
i:i Debtor 1 end Debtor 2 only iii oiaputed
m At least rat-te of the debtorat and another Type of NONPRlORiTY l.l|‘lsetili|‘dd |.`.'iailTlt
n shock lithis claim is for a community m Stuue"t loans
t-tuut n Clbligations arising out ofa separation agreement or divorce that you did not
ls the claim subject to offset‘i' report es priority claims
l ton i:i Debts to pension or prciit-sharing plansl and other similar debts
m Yes . Other. Specliy r_t~'-_:O_£-_i':i::i:iqiti_"'€lTlBANK"

4.1 FDRTFC|LIO RECDVERY

a Aggt;it;|ATEg l.nttt 4 diana or account number $1.1$1.00
Nonpriority Creditor's Name __
120 CC|RPORATE BLVD STE 100 When was the debt lncurred'? 912013
Norfolit. VA 23502
Number Street City Slate Zip Code As ot the date you liie, the claim is: Eheclt all that apply
Who lncurred the debt? Checit one.
- Debtor 'l only i:i Eontingent
El oentar2 only El unliquidated
i:i Debtor1 and Debtor 2 only i:i Dispuled
i:i At least one of the debtors and another Type ut N°NPRIOR|TY unsecured ctutu'u
i:i Chec|t if this claim is fora community m Stude"'t '°t‘“"°'
ditt'it i:i obligations arising out of a separation agreement or divorce thatyou did hot
is the claim subjeotto offset? report as priority claims
- tug i:i Debts to pension or pruitt-sharing plans. and other similar debts
l;i Yes - Other. apecit=t, COLLECT|DN "SYNCHRGNY BANK"

4.1

g PRDGRESS|VE LEAS|NG Last d digits of account number $Zn'n.oct

'_ Nonpriority Creditor's Name
256 DATA DR When was the debt lnourred? _LFIL(NOWN _
Draper, L|T 34020
Number Street Clty Siate le C‘.ode As of the date you lile, the claim ia: Check all that apply
Who incurred the debt? Ghecit one.
l Debtor 1 only n Contingent
E| better 2 only Ei unliquidated
El nestor l and loel:itor 2 only Ei niaputed _
i:i At least one of the debtors and another T\'Pe et NoNPRt°R'-W unsecured °'eu“:
i;l Ghectt ifthis claim is fora community n Stuue"‘t mens
ueut i:i Obligations arising out of a separation agreement or divorce that you did not
lathe claim subject to offae‘t? report ss priority claims
l Ntt i:i Debts to pension or prciit-sl'lal‘ing plansl and other similar debts
ij lies l other_ specify

Ofiiciel Form ton ErF Bcheduie EiF: ¢reditors Who Have Llnsecured Ciaims Page `l' of 14

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Debtor1 _MAR|ANELA OLlVERA CABALLERO

 

 

 

Case 19-11312-ab|

 

 

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o RAP|D cASH Last 4 digits of account number $‘i ,UUO.UU
Nonpriority Credltor's Name `
1532 N_ JONES BLVD When was t|'le debt lncl.irrad'i' UNKNOWN
Las Vegas, NV 89108
Number Street City State Zip Code As of the date you fi|e, the claim is: Checit ali that apply
Who incurred the debt? shecit one.
- Debtor1 only i:i contingent
i:i Debtor 2 only ij Unliquidated
i:i Debtor 1 and Debtor 2 only i:i Disputed
i:i At least one ot the debtors and another Type et Nouputomw unsecured eutu"'u
l;i cheek if this claim ia fora community n St'-'de“t leei'e
debt i:i Obl|gatiorls arising out ot a separation agreement or divorce that you did not
le the claim subject to offeet? repon as priority claims
l tug i:i Debts to pension or profit-sharing plans. and other similar debts
i:i Yes l when specth FAYDAY LOAN

4l2

1 SEARSICENA Last 4 diglta or account number $3'|5.00
Non priority Credltor's Name
PC\ EC|X 6282 When was the debt incurred? 7[2|__')_14
Sioux Fails, 513 571 17 '
Number street Clty state le t‘.tode ins of the date you nle. the claim is: Checit eli that apply
Who incurred the debt? Checic one.
- Debtor1 only ij Contlrrgent
i:l Debtor 2 only i:l Uniiquidated
i:i Debtor 'i and Debtor 2 only i:] Disputed
i:i At least one of the debtors and another Type uf N°NPRIBR"'Y u"eeeu"eu elath
i:i Checit if this claim is icra community m Stuue"'t '°e"'e
debt i:i Obligatlons arising out of a separation agreement or divorce that you did not
is the cialm subject t.D off$B‘i? report as priority ols`ims
l N¢ i:i Debts to pension or proiit-sharing plans. and other similar debts
ij res l gotten mary REVOLV|NG ACCOUNT

4.2

2 5|MON'5 FLLRN|T|JRE Last ddlg|ts of account number U|'li'lt'lCtW|'l
Nonpriority Ereditor's Name
8 SLIMMER STREE'[' When was tile debt incurred'? UNKNOWN
Frani<lin. MA 02038
Number Btreet City Elate le Code As ofthe date you ilie. the claim is: sheclt aii that apply
Who incurred the debt? C.hecit one.
- Debtor 1 only i;i Contingent
i:i Debtor 2 only i:i unliquidated
i:i Debtor l and Debtor 2 only i:i Dlspuled
i:i At least one ot the dabtors`and another TYF'e et NUNF'R'°R'W u“eeeuteu etet"u‘
lIl check iftnia claim ia for a community t:t et"tte"t bent
debt i:i Dbllgatlons arlsing out ot a separation agreement or divorce that you did not
is the claim subject to offset'i' repon as priority claims
l Nty i:i Debts to pension or profit-sharing plans. and other similar debts
i:l "r'es l gther, gpat;ttt REVOLV|NG AC|'..`DUNT

Oi'i‘icial Form 105 E/F Scheduie E.iF: Creditors Who Have Unsecured Ciaims page B of 14

Basl base Bankruptcy

DF-'bi°i 1 MAR|ANELA_t_ OL|VERA CABALLERD

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- WW.DE|B!¢BBE`¢\‘J|'H

3 Last 4 digits of account number Util-tl'luwl'i
Nonpriority Creciitor‘s Name
PD BDX 2656'| When was the debt incurred? UNKNQWN
Sait Lake Cify. UT 84126
Number Streei City State Zip Code As of the date you t'lie, t|ie claim is: Check ali that apply
Who incurred the debt? Ctlecii one.
l DEhtC|r`i Oi'lly n Cuntingent
m Debtor 2 only m Uniiquidated
l:l easter 1 and Debtor 2 only l:l nlcpulad
ij Ai ieast one ofthe debtors and another TYP° uf N°NFRMR'TY unsecured ‘uau"`"
n Citock if til|s claim is for a community m utuuem 'ua“u'
ueu'\ m Ob||gai|ona arising out cia separation agreement or divorce that you did net
ls tile claim subject to offset'? report as priority claims
l No n Debis to pension or proiit-sharinp piens, and other similar debts
El rca l olncr specify
4.2
4 EPACE COAST CRED|T uNlDN Last 4 digits of account number $G,BDB.UU
Nonpriority Credibor‘s Name _ m
8045 N. WlC KHAM RD when was the debt incur-rods 312014
Me|bourne, FL 32940
Number Sireet City State le Cooie As of the date you iiie, the cteirri is: Crlecir ali that apply
Wi'lo incurred tile debt? Checit one.
- Debtor1 only [:l Contingent
L__| nootor 2 only l:l unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
|:| Al |aaar aaa ar rha dabrara ana arrarrrar Type of NDNPR|ORITY unsecured c|all'n:
|Ii check ifthis claim lo for a community m Siuu‘i'“l mims
debt cl Cibligations arising out of a separation agreementor divorce that you did not
is the claim subject to offset? report as priority claims
l log i:l Debis to pension or protit-sharing plans. and other similar debts
m 'YBS . olhaf_ Sp!c_|fy |NSTALMENTS
4.2
5 SYNCB!ASHLEY HGMESTORE Last 4 digits oi' account number Ul‘tktttawi‘i
Nonpriority Greditor's Name
950 furrgr blvd Whon was the debt incurred? 11]201';'
kettering, OH 45420 ___
Number Street City Staie Z|p Eode As oi' the date you i‘ilell the claim is: iii-reck all that apply
Who incurred tile debt'? Checit one.
- Debtor ‘i only i:| Coniingent
|:l senior 2 only El unliquidated
|:| Debtor 1 and Debtor 2 only ij Disputed
|:| Ar laaat aaa ar ma aaatara aaa arramar Ty`pe of NC|NPR|ER|TY unsecured 'ciaim:
l:l Cllec|t li this claim is i'or a community n Stuuu'u [°3"3
u¢bf |:l Obi|gaiions arising out ora separation agreement or divorce that you did not
ls the claim subject to offset'? repon as priority claims
l No |:l Debts to pension or proiit-sharinq plansl and other similar debts
m Yes l omar gpec|rir EEYQLV|NG ACCC)UNT
Di'iioiai Form 106 El'F Scheduie Ei'F: Creditors Who Have unsecured C|alrns Page 9 of 14

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DEiblOl"i MARIANELA OL|VERA CABALLERO _ _

Case 19-11312-ab|

 

 

 

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4.2
5 SYNCENC PENNY Last 4 digits of account number Ullkll€i\li_ll'l
Nonpriority Creditor's Name _
p0 BDX 935|]¢]7 When was the debt incurred? 612015
Orlando, FL 32396
Number Street C|ty State le Codo As of the date you t`ile, the claim is: Checit ali that apply
Who incurred the debl.'il' Ei'leoir, one.
. BEbtl;\r 1 Clrl|y l:l Contingent
m Debtor 2 only I.-_l Uniiquidated
|:l Debtor 1 and bottler 2 only Ei oieouted
|;| Ar |aaar aaa afrrra aaarara aaa arrarrrar Type of NONPR|DRIT‘{ unsecured ciaim:
t:l Cbocil ll this claim ls for a community n Su'uem loans
dam n Db|igations arising out oi'a separation agreement or divorce that you did not
is tho claim subject to ollsot‘? report as priority claims
. No t:l Debts to pension or pruitt-sharing plansl and other similar debts
n l`|"IEH - C|mer_ Sch||"y REVDLV|NG
42
7 SYNCBISAMS CL-uB Laal; 4 digits of account number Ul"it(l'tDWl‘l
Nonpriority Eredilor's Name
PD BOX 955005 When was tile debt incurred? 312014 _
Orlando, FL 32896
Number Sireel City Siaie Z|p Code As of the date you ti|e, the claim |s: Ctlec|t all that apply
Who incurred the debl.'r" Checi< one.
l Debtor1 only I:l Coniingont
|:l sector 2 only Ei unliquidated
m Debtor 1 and Debtor 2 only t:t Disputed
ij At least one ot the debtors and another Tyuu uf N°NFNOR|TY unsecured ‘-uu'"u
EI check ir this claim is rcra community n utuue'u '°E"“‘
debt ij Obi|gatlons arising out oi a separation agreement or divorce that you did not
le the claim subject to offset? report as priority claims
- No n Debta to pension or profit-sharing plans. and other similar debts
\:| Yes - Otner. Speciry REVOLVING ACCOUNT
4.2
g SYNCBISUNG LASS HUT Last 4 digits ot' account number Ul'ik|'lDWn

 

 

Nonpriority Creditol‘s Name
PO EiDX 965036
Or|ando, FL 32396

 

Number Sireet City Etate Zip Code
Who incurred the debt? Chec|t one.

l ncolcr 1 only

l;l Debtor 2 only

L_..t Debtor 1 and Debtor 2 only

El At least one cline debtors and another

n Eltecil |I‘th|s claim is for a community
debt

ls the claim subject to oilset'i'
- NQ
CI voa

WI"IEI‘i WHE the det. titl:l.ll‘l‘&d?

Bl2l]'15

 

As ot the date you fiie, the claim is: Ci-leci~: ali that apply

n Cont|ngent
El unliquidated

t:t Disputed
Type ot NQNPRIDH|TY unsecured ciaim:

l:| Stl.ldent loans

l;l Obi|gations arising out ora separation agreement or divorce that you did not
repon as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

- Diher. Spec|ly REVOLV|NQ

 

 

 

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Debtor1assumero_uv_riiia.sesui_-s_so__ _ _ enumerated
4.2
g SYNCBrl'-Jx 003 Last it digits cl account number $3.155-00
Nonpriority Creditor's Name _ __
PD BOX 9650(15 When was the debt incurred? 6]2|]12
Driando, FL 32396
Number Eitreet Ciiy State Z|p Code As oi the date you iiie. the claim is: Ehecit ali that apply
Who incurred the debt? Checlt one.
. Debtor 1 only t:l Contingent
t:l Debtor 2 only t:t Uniiquidated
ij Debtor 1 and Debtor 2 only L_.t Dlsputed
m At least one or me debtors and anmher- TYPE Df NONPRlURtTY lit"lSQCUl'Bd Clatl‘t'i:
l;t check li'tnls claim is for a community n Stuuum loans
tl°bt l;l Dbiigations arising cut ota separation agreement or divorce that you did not
is the claim subject to olfsot'i' repon as priority claims
l ND n Debts to pension or profit-sharing plansl and other similar debts
m YBS - nfhar_ Spec|fy REVOLV|NG AccouN-r
42
g THD!CBNA __ _ _ Last-lidlgits of account number 5753-00
Nonpriority Creciilor's Name _ _
PO BDX 6497 When was the debt lncurred? 1‘1!2017 _ i_ __
You Fai|sr SD 571_1“_7_"_“_'“_ _ _
Number Street City State le l.`.ode As of the date you fl|e, the claim ls: l.`.heclt all that apply
Who incurred the debt? Checit one.
- Debtor1 only t:l Contingont
E| Daotor 2 only |Ii unliquidated
n Debtor1 and Debtor 2 only t:l Disputed
E| Al least one of the doctors and another TYP¢ °t NuuFR'uR'TY unsecured °'t"'“:
t:l Gheclt if this claim is for s community m Su"'uEru loans
uttut t:| Ob|igatlons arising out ol a separation agreement or divorce thatyou did not
is the claim subject to offset? repon as priority claims
- No t:] Debta to pension or profit-sharing plans. and other similar debts
l:l rea l area array REvoLles _
4.3
1 Troplcana Anlmai Hospltai i.aot 4 diana oraccount camper $2.000.00
' ' Nonpriority Greditor's Name
2385 E. TROPICANA AVE When was fha debt inr-urrad? UNKNOWN
_r|:_a*s Vegas, NV 89119
Number street city stole zip code As or tha data you nlo. tha claim is: check all that apply
Who incurred the debt? Cnecit one.
- Debtor t only n Contingent
|Ii doctor 2 orriy lI| unliquidated
t:t Debtor ‘i and Debtor 2 only m Disputed
[:] Ar |‘aaar aaa ar rha aaarara aaa arrarhar Type of NDNPR|URlW unsecured ciaim:
t:l Checlil |i' this claim ls for a community m Stuue'u mm
debt l;l Cibiigations arising out oi a separation agreement or divorce that you did not
is the claim subject to offset'i' repon as priority claims
l Na m Dehts to pension or profit-sharing plansl and other similar debts
El ‘res l glhar_ gpach PET MED|CAL BlLL
leiioia| Form 106 Er'F Bcliedl.iie ErlF: l'.ired|tors Who Have Unsecured C|aims Page 11 of tit

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Case 19-11312-ab|

 

 

 

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status ttisoalli
Debtor1 MAR|ANELA OLIVERA CAEALLERO _ _ Case number (irl<ncwl
4.3
2 US COLLECTION WEST lN Last 4 digits cl account number $237.00
Nonpriority Eraditctrs Name _- _
2320 W. PEOR|A AVE STE C1 When Waa fha debt inaurl'ad? _"_l__'l__/_EO'lB _ _
Phoeni)t, iPlMZF_ 85029 _ _
Number Siraet City Siate Zip C.ocie As oi' the date you lito, the claim is: Checlr all that apply
Who incurred the dabt'? Checit ona.
- Debtor 'i only ij Contingent
l:l Debtor2 only l:l Unl|quidated
m Debtor 1 and Debtor 2 only l;l Diaputed
l:l At least one ol the debtors and another T¥P° °f NoNPRmm-r"' ""‘5““""5°' °'“'"“
l:l Chacll'. if this claim le for a community m Sdem loans
dam n Dl:l|igations arising out of a separation agreement or divoroe that you did not
la the claim subject tc offset? report as priority claims
- Ng n Dsbis to pension or profit-sharing plans. and other similar debts
|:l rea l l;;,¢her, special §§PLLECT|ON “ANDOVER PLACE"
4.3
3 vER|ZDN WlRELESS Last 4 dlglt.a of account number $5,504.00
Nonpriority C'.reditor's Name
F'Cl BDX 650051 When was the debt lncurred? 21201 B
Daiias, TX 75265
Number Street City Stale le Ccde Aa ofthe data you fl|e. the claim is: Checii ali that apply
Who incurred the debt? Checit orie_
- Debtor1 only l:l Contingent
|:] Debtor 2 only El unliquidated
|:l Debtor 1 and Debtor 2 only l:| Dispuied
m At least one ol' the debtors and another TYPE of N°NFR'°RHY unsecured “‘a|"“
U Checli ifthis claim is for a community m 5"“'5"“ '°E'"B
dam m Cibiigations arising out ol a separation agreement or divorce that you did not
is the claim subject to oilset? report as priority claims
. No n Dabla to pension or profit-sharing plans. and other similar debts
m YES . D[hgr_ Spac]fy CELL PHONE
4,3
4 WE.ST CREEK Las14 digits ol' account number UrlimDWn
Nonpriority Crediiol‘s Name
PO Bax 5518 When was the debt incurrad'il UNKNOWN

Gien Allen. VA 23058-55'|8
Number Street City Staie le Code

Who incurred the debt'? Ci'leclt orlel

- Debtor ‘l only

l:i Debtor 2 only

l;| oatitor 1 and Debtor 2 only

l:l At least one ol the debtors and another

l:] Chsclt if this claim is for a community
debt
lathe claim subject to offeet?

l tile
g Yes

 

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Schedu|e EiF: Creditors Wl'lo Have Llnsecured C|alms

As ol the date you flie, the claim is: t'_:hecl; all that apply

l:l t`;ontingent
i;l unliquidated
l__..l D|sputed

' Type oi' NONPR|UR|TY unsecured ciaim:

l:l Siudent loans

l;l Obligaticne arising out ora separation agreementor divorce that you did not
report as priority claims

l:l Debts to pension or pmm-sharing plans. and other similar debts

- Otherd Spec|iy _ _ __

 

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Case 19-11312-ab|

Debtor1 iiiiilt`-’iRlli-'».NELli-"il OLIVERA CABALLERO

 

 

 

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Case number tiltnow)

 

 

 

 

 

 

4.3
5 WF CRD SVC ` Last 4 digits of account number $2.555-00
Nonpriority Eredllor's Narne
PC) BOX 14517 When was the debt lncurred? 512015
Des Moines, lAN."_)'tl.?-OS
Number Streat Cily Etaie Z|p l.`.ode As el the date you l'lie. the claim ls: Chaclt all that apply
Who incurred the debt? Check one.
l Debtor1 only El contingent
l:l Debtor 2 only l:l Uniiquldated
|:-l Debtor1 and Debtor 2 only l:l Disputad
l:l At ieastone ol the debtors and another TYF"* of NC'NF'R|°R'TY '-""5*¢""9“ claim
i:| i.'.`-heck if this claim is iora community |:| SWdEnt loans
debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l N,;y m Debts to pension or proIit-sharing plans. and other similar debts
|:l Yes l owen gpecity REVDLVING _
4.3
5 WK AND ASSOC[ATES, lNC Last 4 digits of account number Ul'lknDWil

 

 

Nonpriority Gred|tor's Name

790 E. CDLORADO ELVD 9TH

FLOC|R

Pasadena, CA 91101
Number Streel City State le Code

Who incurred the debt? Checlt one.

- Debtor 1 only
l:i sector 2 only
El Debtor 1 and Debtor 2 only

l:i At least one cline debtors and another
m i.'.`-heck if this claim is fora community

When was the debt |ncurred? UNKNDWN

 

As of the date you ti|e. the claim is: Checlt all that apply

l:l Contlngent
iii unllqaldated

l:l olsputerl
Type of NDNPR|OR|TY unsecured clalm:

ij Student loans

dam l:l Obl|gatlens arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims

l Nc. m Debts to pension or plant-sharing plans. and other similar debts

m "l"es - C)ther. Speciiy

 

 

List others to se Notlflod Aeout a petit That you Already Llstad

5. Use this page only it you have others to he notilied about your bankruptcy, fora debt that you already listed in Parts 1 or 2_ For example, ila collection agency
is trying to coi|act from you for a debt you cwa to someone eiae, list the original creditor in Parts t or 2. then list the collection agency here. Similarly. llyou
have more than one creditorfor any ofthe debts that you listed in Parts 1 or 2. list the additional creditors hero. ilyou do not have additional persons to be
notified for any debts in Farts 'l or 2. do not till color submit this page.

Name and Addraaa Dn which eniry in Part 1 or Part 2 did you list the original creditor'i‘
LAS VEGAS JUSTiC-E CDURT Line g of (Cl‘ie'ak onE)-' [:] F'an 1: Creditors with Priority |Jnsecured Ciaims
§§ §§§";55§‘;§ - Part 2: Cred|tors with Nonpriority Unsecured G|aims

Las Vegas, NV 39155
- - Last 4 digits of account number -

 

Name and Address
QUANTUM COLLECTION
BDBD S. DURANGO #105
Lae Vogas. NV 89117

On which entry irl Part 1 or Part 2 did you iistthe original creditor?
Line 4.31 of lilth DHE).' r_'l Part 1: Creditors with l'-*riority Unsecured C.|aims

- Pan 2: t`;red|lors with Nonpriority Linsecured C|aims

Last 4 digits Cli account t'iL|l‘l‘liJBf

 

on which entry in Part 1 or Part 2 did you list the original eradllor'r
Line § of (cneolr onel: El Part 1; creditors with Priorily unsecured claims

Name and Address
SEAN P. HlLLiN, ESQ.
1500 E. SAHARA AVE, SUlTE 102

- Part 2: Creditors with Non riorii L.insecured Cialms
Las Vegas, NV B91tl¢l- l'-‘ v

Last 4 digits of account number

On which entry in Part1 or Part 2 did you list the original creditor'?
Line 4.15 of (C'nack onsl.' l..__l F'arl1: Cred|tors with Priorlty t.lnsecured C|alms

Name and Address
Simm Associates, lnc.

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Besl Caae Bankruptcy

Oilic|al Form 105 E!F schedule Ein Craditors Who Have Unaecured C|alms
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trains 11 scm
Debtor 1 MAR|ANELA OLlVERA CA\_BA|;LERD CBSB number (ilhnewl

800 PENCADER DR l .
Part 2. l.`.redilors with Non rioril Unsecursd Clein'ls
Newarlr, oE is'rea " y
Last 4 digits of account number

 

 

m Add the Amounts for Each Type of Unsecured Cieim

E- Total the amounts of certain types of unsecured claima. Thia infonnaticn is forstatistlcal reporting purposes oniy. 2l1 U.S.¢.T.. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

 

 

 

 

Total Cleim
Ba. Domestic support obligations 6a 5 D*[]_O
Total “
claims
from Fart 1 Bb. Taxea and certain other debts you owe the government Eb. 5 g_gg
6a Clairns for death or personal injury while you were intoxicated sc. 5 g_gg
Gd. Othar. Add all other priority unsecured claims. Write that amount here, od. g g_gg
se Total Priority. Add lines Ea through ddd BB- $ U.DD
Total Ciaim
Bf. Student loans Gf. $ [|_Do
Total __ '_ ink
claims
from Part 2 Bg. Db|igationa arising out ofa separation agreement or divorce that
you did not report as priority claims Eg' $ _0'00
Eb. Debts to pension or profit-sharing plans, and other similar debts ah, 5 g'og
Ei. Othar. Add all other non rior' unsec ed la' . W' h E'. _ '
here. p 'W ur ii """5 rllai al amount l s 63*547+00
di Total Nonpriority. Add lines sf through ai, Ej. s 53'54?'_[|0
t'Jfflclal Form 105 EiF Bchedule El‘F: Credltors Who Have Unsecursd Claims Page 14 ot14

Eoitwaro Copyrighl lcl 1996-2018 Bssl Caae. LLC -wwwbeslcaas.com Eeat Caae Bankruptcy

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trains 11;soellll
Fill ir‘l this information to identify your casc:

Debtor 1 MAR|ANELA OLlVERA CAEALLERO

Firsl Narns Mlddle Name ' ' Lset Name

 

Debtor 2
(Spdu$e il, filingl Fir'at Name Mlddle Nam_e Last Name

 

United Stales Bankruptcy Court for the: DlSTFi|C`-T OF NEVADA

 

Gase number
tirlinownt |:[ Checit if this is an

amended liiing

 

 

 

Otficial Form 106(3
Schedule G: Executory Contracts and Unexpired Leases tens

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed. copy the additional pege. fill it out, number the entries1 and attach it to this page. on the top cf any
additional pages, write your name and case number (lil known).

1_ Do you have any executory contracts or unexpired ieases?
l No. Checlt this box and tile this form with the court with your other schedules Vou have nothing else to report on this form.
|Il Yes. Fill in all of tha information below even if the contacts of leases are listed on Scheduia A/B:Propcriy (Ollicia| l‘-'omi too AIB}_

2. List separately each person cr company with whom you have the contract or iease. Then state what each contract or lease is for tier
examp|e, rent, vehicle lease. cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired |eases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name. Nuiheer, streetl cityl stale and ziP code
2.1 _ ' _ ' _ _ _ _
Name
Number Street
C|ty Slate ZlF' Code
2.2
Narne
Number Street
City State ZiP Code
2.3
Name
Number Street
city _' state gth code , _
2.4
_ Name
Nurri'h?e? street _ _ _ _' '_
Clty Etale ZlF' Eode
2.5
Name
Number Street
City Slate ZlP Code
thcial Form 1DBG Schadu|e G: Exacutory Gontracts and Unexplred Leases Page 1 of 1

Scftwara Eopyright tel 1995-2018 Ec=l Casc. LLC -www basicase oom iiiest Case Bankruptcy

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ND'i'.|'lB l‘l:!lDAM
Fill in this information to idcntify your casc:

secret MABlANsLA ol._ly_EFgA cA_eA_L.LEeo

First Name 'idlo"clle`"l'~ia'r`ri'e Last Nelne

 

Debtor 2 ___ __ _`
(Spouseil.illlng) FlrslNeme ' ' Miodlet\leme LeelNerne

 

United Btates Bankruptcy Court for the: DlSTRICT OF NEVADA

 

Case number l _
tirltncwm i:| Chsck lf this is an

amended filing

 

 

foicial Form 'IOSH
Schedu|e H: ¥our Codebtors 12115

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed. copy the Additional Page.
fill lt out. and number the entries in the boxes on the left. llitttal::h the Addltional Page to this page. On the top of any Additlona| Pages. write
your name and case number (if known}. Answer every question.

1. Do you have any codehtors? (|iyou are lll|ng a jolnl case. dc not list either spouse as a codebtor.

- No
l:l Yes

2. Withln the last B years. have you lived in a community property state or territory? iCommunlty property states and territories include
Arizona, California, idahol Louisiana, Nevada_ New Mexico, Puerto Rico, Texas, Washington. and Wisconsin.)

- No. Go lo line 3.
l:l Yes. Did your spouse. former spousel or legal equivalent live with you at the time'?

3. ln Golun'm 1, list all of your codebtors. Do not include your spouse se a codehtor if your spouse le iillng with you. List the person shown
in line 2 again as a codebtor only if that person ls a guarantor or coslgner. lll'lake sure you have listed the creditor on Schedu|e D iCifflcla|
Form 1UBD), Schedule El'F (t.'.ifticial Form 1DEEiF], or Schedu|e E (Officia| Fom1 106\'.'5}. Use Schedule D. Schedule EIF, or Bchedule G to fill

 

 

 

 

 

 

out Colurnn 2.
Column 1.' Your codel:itor Cciumn 2.' The creditor to whom you owe the debt
Nalne. Nulrlluerd Et!eel, Eiiy, Staile and ZlP Cod: Che¢k all schedules that app|y:
3_1 ll lIl schedule o, line
Name l:l Schedu|e E!F. line
l:l Sohedute G. line
NLlll"|bBl' Sl|'BBi
Clty Slele ZlP Gode
IE] lIl schedule o, line
Name l:l Schedule EIF. line
l:| Schedule l.'i. line
Nut'l"lb&l' Sll‘dell
city stale ziP cone
Clii'lcial Form lOGH Schedu|e H; Your Codebtors Page ‘l of1

Soltwere Cooyrlohl toll 1996-2015 Best Cese, LLC -www.beslcace.com Eesi Eaae Bankn.lptcy

Case 19-11312-abl

l`-`i|l in this information to idenlif your case:

Debtor 1

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:lIO'HTB il:5iiAM

MARIANELA DLIVERA CABALLERD

 

Debtor 2

 

(spdue.e. ir niing}

United States Bankruptcy Court forthe:

DlSTH|CT OF NEVADA

 

Case number
iii knowni

 

Checit if this is.'
l:l An amended iiiing
l:l A supplement showing postpetition chapter

 

Offioial Form 106|
Schedu|e i: Your income

13 income as of the following date:

ililllil l DD/ YYYY'
12i15

 

Ele as complete and accurate as possib|e. if two married people are filing together (Debtor1 and Debtor 2}, both are equally responsible for
supplying correct information if you are married and not filing iolntly. and your spouse ls living with you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. Dn the top of any additional peges, write your name and case number (if known). Answer every question.

Descrlbe Emplcyment

1. Fill in your employment
informationl

ii you have more than one iob.
attach a separate page with
information about additional
employers.

Emp|oyment status*

Dccupation

include part-iime, seasona|, or
self-employed work.

Empioyer's name
occupation may include student

or homemakerl if it applies. Employer's address

Hovv long employed there‘?

Give l_'.ietal|s About iliionth|y income

Debtor 'i Debtor 2 or non-filing spouse

 

i:i Employed
l:l Not employed

- Employed
l:l Nol employed

HOUSEKEEP|NG lGRAl

THE CO$MDPOL|TAN DF LAS
VEGAS

 

3708 S. LAS VEGAS BLVD
Las Vegee. NV 89109

 

3 YEARS
‘See Attachment for Additlonal Employment lnfomtation

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. include your non-filing

spouse unless you are separated

if you or your non-filing spouse have more than one empioyer, combine the information for all employers for that person on the lines below. if you need

more space, attach a separate sheet to this form.

List monthly gross wages, salary, and commissions (before all payroll '
24 deductions), |f not paid monthly, calculate what the monthly wage would be. 2' 5

3_ Estimate and list monthly overtime pay_

4. Calcu|ate gross lncome. Adcl line 2 + line 3.

Dl'l'iciul Form lliol

For Debtor 2 or
r_l“g_g-filing_§p_ouse

For Debtor1

 

 

 

 

2,610.20 s NiA
:id +t o.oo +$ NlA
4_ s 2,sio.2o la NiA

 

 

St‘hcr.iulc l: `i’nur income page l

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3!07.|11]1175DAM
Debtor1 MAR|ANELA QLIVERA CABALLERD Gese number(iredewn) _
For Debtor1 For Debtor 2 or
non-filing spouse
C°PY ""° 4 he'°.\.........\ . “' 5 2.'31'3-2'3 $ NiA
5. List all payroll deductions:
Ea, Taxl Medicare, and Eociai Security deductions 5a $ 359,15 5 NiA
Sb. Mandatory contributions for retirement plans 511 $ O.UD 5 NiA
56. Voiuntary contributions for retirement plans 5c. $ D_DD $ NIA'
5cl. Required repayments of retirement fund loans Bd. $ iJ,iJi_`i $ NIA
5a insurance 5e, $ [i.(ii] $ NIA
5f. Domestic support obligations 5f. $ __`C"l`._i!i]_ $ NiA
59. Union dues 59. 5 50.56 $ NIA
Eh. Other deductions. Specify: 5h.+ $ l'.i.§_l_:_i_ + $ __ _ _ N!A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. e. $ _ 419.68 $ NIA
7, Calcuiete total monthly take»hoine pay. Sul:ilract line 6 from line 4. ?. $ 21190_52 3 N!A
B. List ali other income regularly received:
Bat Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses and the total
monthly net income. Ba. $ _ t],t]t'_i $ N{A
Bh. interest and dividends Bb. $ U.Dl`.iu 5 NiA
Bc. Fami|y support payments that you, a non-filing spouse. or a dependent
regularly receive
include allmony. spousal support child support, maintenance, divorce
settlementl and properly settlementl $c. 5 o.t`,li] $ NiA
Bd. Unemployment compensation Bd. 5 0.00 $ NJA
Be. Sociai Becurity Bc. $ 0.00 $ NIA
Bf. Other government assistance that you regularly receive
include cash assistance and the value {li' known) of any non-cash assistance
that you rcceivc. such as food stamps (beneiils under the Supplemental
Nutl'lilol‘i Asslstence F'rogram) or housing subsidies
Soecify: ` Bf» $ i`.i.lJD $ NIA
Bg. Pension or retirement income Bg. $ t'_i,i)i] $ NIA
Bh. l.'.ither monthly income. Speciiy: Bh.+ iii t',i.l',ii] + $ N;A
9. Add ali other income. Add lines Ba+Bb+Ec+Bd+Be+Elf+Elg+Bh. 9. 5 O_U[i $ itt_[_&j
to. Calcuiate monthly income. Add line 7 + line 9. 10. iii 2,190.52 + $ Nl'A = $ 2L19ii.52
Add the entries in line 10 ior Debtor 1 and Debtor 2 or non-ming spouse. ` _ '
11b Btate ali other regular contributions to the expenses that you list in Scheuiuia J,
include contributions from an unmarried oariner. members of your household your dependents your roommates, end
other friends or reiatives.
De not include any amounts already included in lines 2-10 or amounts that are nol available to pay expenses listed in Schedule J.
Specify: _ 1'|. +$ D.Di'.i
121 Add the amount iri the last column of line 10 to the amount in line 1‘i. The result-is the combined monthly income.
Write that amount on lite Summary of Sciieduies and Stail'siical Summary of Certain Liabilities and Related Deta. if lt
applies 12. $ 2,190.52
combined
monthly income
13. Do you expect an increase or decrease within the year after you tile this form?
l Nc.
|:| Yes. Explain; [_ _ l
Oii`lclal l"orlii illicit Schci.iuic i: \’our lrtcumc page 2

 

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3{["}15 'i`i?!ll:iAM
Debtor 1 MAR|ANELA OLIVERA CABALLERC| Case number tifirnown) _

Officiai Form B 61
Attachment for Additional Employment information

Debtor ______ _______ _ __ _
Occupation DEL|VERY
Name of Emp|oyer GRUBHUB
How long employed 3 MUNTHS

names ersmpreyar ease oEAN iviARTiN pa _`
Las vegas Nv ssi is trio i_oNeER oFtiini:)Ei_ivER

 

 

 

 

 

 

 

 

Oi'i'iciu| Form lotii Sciict|iiit\ i: 1i’oiir income page 3

 

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3.'€|7!1!11'5|],\|'|
Fill iri this informalion to identify your ca.'_-‘.o:
Debtor 1 MAR|ANELA OLiVERA CABALLERD Ch€¢i¢ ii ihia i=`»-'
|:_| An amended filing
Debtor 2 |:i A supplement showing postpetition chapter
(spouse, iftiiing) 13 expenses as ofthe following daie‘.
United Siates Bankruptcy Court ior' inez D|STRICT OF NEVADA |Vi|Vi l DD /YYYY

 

Cese number
(il known)

 

 

 

Officia| Form 106J
Schedu|e J: Your Expenses rare

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is neededl attach another sheet to this form. On the top of any additional pagea, write your name and case
number (if knowni. Answer every question,

 

Descrlbe Your Househoid
1_ is this s joint case?

l No, co m line 2,
i:i Yes. Does Debtor 2 live in a separate househo|d?

|:i No
ij Yes. Dehioi' 2 must file Of'f|cia| Form 'liJEiJ-Z. Expenses for Separaie Househoid of Debtor 2.

2. Do you have dependents'i' l Nn

 

 

 

 

Do not list Debtor 1 and |:| YEB_ Fill outtti|s iniormation for Depondent’s relationship to ospendant's Doas dependent
Debtor 2_ each dependenl.............. Debtor1 er Debtor 2 age live with you?
Do not state the i;i No
dependents names. |;| YEB

i:| No

_ ij Yes

i:i No

n Yes

i:l No

EI Yes

3. Do your expenses include l N°

expenses of people other than n

yourself and your dependents? YEB

-l_E_s'ti‘mate Y_'our Dngoing Monthiy Expensea
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chaptar 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedi.rie J, check the box at the top of the form and fill in the
applicable date.

|nc_|ude expenses paid for with_non~cash government assistance if you know _
the value of such assistance and have included it on Schedul'e i: Your income

(t‘.ifiiciai Form ‘lDE|.) Your expenses
::_h”

4. The rental or home ownership expenses for your residence. include first mortgage

 

 

 

payments and any rent for the ground or |ot. 4r $ 550-on

it not included in line 4:

4s. Rea| estate taxes 4a. $ g_gg

4b. Property, homeowner's. or renter‘s insurance 4b. $ g_gg

4c. Home maintenance repalr. and upkeep expenses so. $ g_gg

4d. Homeowner's association or condominium dues 4d. $ g_gg
5i Additional mortgage payments for your residence, such as home equity loans 5. iii g_[]i_]

 

Oi'iioial Form ioe.i Scheduie ..i: Your Expenses page 1

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easier 1 _rvrAarApsLA oLrvsaA cAaALLERo

E.

‘|E,

‘l?.

iii.

'i{-i_

20.

21.
22.

23.

24.

 

Utilities:
da. Electric|ty. heat. natural gas
Bb, Water. sewer. garbage collection

Ed. Olher. Specify:

 

Fooi:l and housekeeping supplies
Chiidcare and children’s education costs
ciothlng. laundry. and dry cleaning
Personai care products and services

. Medlca| and dental expenses

Do not include car payments

insurance.

15a Liie insurance

tob. l-leailh insurance

15c. Vehic|e insurance
15d. C.`)ther insurance. speciry:

 

Epecify:

 

installment or lease payments:
'i?a. Car payments for Vehicle ‘i

17th Car payments for Vehiole 2
'ch. Other. Specify:

 

17d. Clther. Specily'.

 

Specify:

 

20a Mortgages on other property
20b. Real estate taxes

Other: Specify: PETS

 

 

 

 

 

 

 

Calcuiate your monthly expenses
22a Add lines 4 through 21.

Caicuiate your monthly net income.

 

 

 

 

 

 

sums 1\ sum
Case number (if known)
6a $ 34o.l.'io
Gb. $ 100.40
Ec. Telepl‘lone. cell phone. internet. satellite and cable services Ec. $ 1 1199
Ed. $ ti.oo
1 t estes
s s _ sss
9, ii 25.00
10. 5 30.00
11. 5 ti.l.ltl
Trans ortation. include as, maintenance, bus or train fare.

° g rs s iso.oo
Entert.ainment,l cluhs, recreation, newspapers, magazines, and books 13. $ _ZUD_DD
Charitable contributions and religious donations 14. $ __ __ o till
Do nol include insurance deducted from your pay or included in lines 4 or 20.

15a $ ‘li)iJ.iJlJ
'i5b- $ iJ.iJo
15c. $ 130,00
tsd. s iJ.iJD
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 2d
16. $ D.l.`il'.i
1?a. iii li.l)tl
1?tr. $ o.ol'.i
17o. $ li.oo
Wd. $ ll.i)o
‘i'our payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5. Scheduie i. Your income toft“rciai Form 106[). ia- $ ann
Cithar payments you make to support others who do not live with you. $ l.l.otl
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule .i: Your l'ncome.
20a $ _ _ _ _ __ _ __l_`_l_.g_§l___
2Cll:i. $ _ 0.00__
20a Property. homeownersl or renter's insurance 20c, 5 '_ _o_@_
20d. Niainlenance. repair, and upkeep expenses 2Cid. 5 0.00
20e_ Homeowner’s association cr condominium dues 20a 5 0_(]()
21. +$ E$.OO
$ 2,234.39
22b. Copy line 22 {monihiy expenses for Debtor 2]. ifany. from Cifficia| Form 'll]i':iJ-Z $
22c. Add line 22a and 22b. The result is your monthly expenses iii 2,234.39
23a Copy line 12 (your combined monthly income_i from Scheduie i. 23a $ 2'190_52
zab. Copy your monthly expenses from line 22c above 23b. »$ 2,234_39
23c. Subtract your monthly expenses from your monthly income. ,
The result is your monthly net income. 23a $ `43‘87

 

 

 

[`.io you expect an increase or decrease in your expenses within the year after you file this form'i’

For examp|e. do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

- No_

 

l:i Yes_ l Expiain here:

Ciflicia| Form 105..| Schecluie .i: Your Expenses

page 2

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Fill in this information to identify your case:

Debtor 1 MAR|ANELA OLlVERA CAE!ALLERO

Firsi Name Mlddle Name Leet Name _

Debtor 2
{Spouse ii. |i|ingi Fif!i Name Mlddle Name Lasl Name

 

United States Bankruptcy Court for the: DlSTRlCT OF NEVADA

Case number
til ltncwni

 

|:| Checlt if this is an
amended lilan

 

 

Ofl“lcial Form 106Dec
Declaration About an individual Debtor's Scheduies ms

if two married people are filing together, both are equally responsible for supplying correct information

You must file this form whenever you file bankruptcy schedules or amended schedules. liliaking a false statement, concealing property, or
obtaining money or property by fraud |n connection with a bankruptcy case can result in fines up to $250.000. or imprisonment for up to 20
yesrs, cr both. te u.s.ct §§ 152, 1341, 1519, ana sen

Did you pay or agree to pay someone who is NO'i` an attorney to help you fill out bankruptcy forms?

 

 

 

-No

[| Ves. Name of person Altach Bankruptcy Petition Preperer's Notr'oe,

_ _ _ Decleretr`on. and Sr'gneture (leticial Form ‘ltL-‘l}

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true an

 
 

 

 

 

 

 

X lt
MARIANELA OL ERA CAEALLERC) Signalure of Debtor 2 '
Signalure of Debtor 1
Date _ z :-_\ k ]q Dale
official Form tilBDec Declaration About an individual Debtor‘s Schedules

Sot'tware Copyrr`gi'ii (c] 1596-2013 Bost Case, LLC ~www business com BElBl CE|BE| Bankruple

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3!07;19 11‘50AM

Fill in this information to identify your case:

DBl'-ll°" l N|AR|ANELA OLlVERA CAEALLERO

First Name Mlddle Name Last Narne
Debtor 2
(Spouso if‘ fliingi Flrst Name _ _' ' Mlddle Name Lasthlame

 

 

 

United States Bankruptcy Court for the: DlSTR|CT CJF NEVADA

 

Case number
(rriinawn) |`J i.‘.'.hecit if this is an

amended filing

 

 

Of'ficial Form 107
Statement of Financiai Affairs for individuals Fiiing for Bankruptcy arts

 

Eie as complete and accurate as posslb|e. if two married people are filing togetherl both are equally responsible for supplying correct
ll'ifol'rl'iatlot‘t. lt more space is needed, attach a separate sheet to this form. On the top of any additional pages. write your name and case
number (lf known). Answer every question.

Give Dei:ai!s About Your Marital Status and Where You leed Before
1. What ls your current marital status?

l:l Married
- Not married

2. ouran the last 3 years. have you lived anywhere other than where you live now'i'

l No

l:l Yes. List ali oi` the places you lived in the last 3 years Do not include where you live now,

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Frior Address: Dates Debtor 2
lived there lived there

3. Wlthll‘l the lest 3 years. did you ever live with a spouse or legal equivalent in a community property state or territory'i' (Gommunity property
states end territories include Arizona, Galifornia, ldaho, Lcuisiana, Nevada, New Nlexico, Puerto Fticol Texas, Washington and Wisconsln.)

- No
l:l `i'es. lVlaite sure you fill out Schedui'e H.' Your Codebtors (Oflicial Form 1OEH).

Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, lisi it only once under Debtor 1.

l;l Nc _
l Yes. Fiii in ina details
Debtor 'l Debtor 2
Sources of income Gross income Bources of income Gross income
Checlt all that apply. (hefore deductions and Checlt all that apply. (before deductions
exclusions) and exclusions)
From January_’i offcurrent year u`nti| - Wages‘ commissions` $5'220_0|3 |:| Wagas: comm|s$|¢ns_
the date you lied or bankruptcy. bnnuses` tips bunuses_ ups
l:l Opereting a business n DPE'B“"Q 3 business
foicial Form 107 Statemcnt of Financiai Aiialrs for individuals Flllng for Bankruptcy page 1

Sol`tware Copyrighl (cl 1996-2918 Bosl Case, l.LG - www`oestcaseoorn Eleat Cese Bankruptcy

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norris ocean
Debtor 1 _M_AR|AN§|__A QL]VERA CABA|_|_ERQ Case number primer-im _ _ _ _ _
Debtor 1 Debtor 2
$ources of income Gross income Sources of income Gross income
Chsck all that apply (beiore deductions and Check all that apply, ibefore deductions
exclusions] and exclusions)
For last calendar year: - iiiiii 95 commi$,iiii,i.i$ $23.31 100 l:i Wages. commissions
(January 1 to December 31, 2018 j bonusag$ tip$ . bonusesi tips

. operating a business El Operating a business

 

For the calendar year before that: l Wa as commissions $7'3,231.00 l:l Wages, commissions
[January 1 to Decei‘rlber 31. 2017 ) bonu$:sl i'ips ' bonusesl tips

- Dperating a business m DpBrating a business

 

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless ofwheli"ief that lnoori'ie ls taicai.‘llel Exai'nples of other income are alimony; child supporl; Social Security, unemployment
and other public benoit paymenis'. pensions: rental income; lnteresl', dlv|dends; money collected from |awsuits; royaltiesl and gambling and lottery
winnings lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4_

l No
l:i Yes. Fill in the delails,
Debtor ‘l Debtor 2
$ources of income Gross income from ‘Siourcesl of income Gross income
Descritie oelow. each source Descrlbe balow. {before deductions
ibefore deductions and and exclusions)
exclusions)

l.lst Certaln Psyments You Made Elefore You Flled for Bankruptcy

E. Are either Debtor ‘l‘s or Debtor 2‘s debts primarily consumer debts?
L__i No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumero'ebts are dehned in 11 Ll.S.C. § 101(8) as “lncurred by en
individual primarily for a personal, family, or household purpose."

Di.ii'lng the 90 days before you filed for bankruptcy. did you pay any creditor a total of $6.425* or more?
iii Nc. ca to line r.

m Yes List below each creditor to whom you paid a total of $6.425' or more in orie or more payments and the total amount you
paid that creditor. Do not include payments for domestic suppon obligationsl such as child suppon and alimony_ Also, do
not include payments to an attorney for this bankruptcy case.

‘ Subject to adjustment on 4i0'li'19 and every 3 years alter that for cases filed on or after the dale of ai:ijustme.\i'itl

. Yest Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcyl did you pay any creditor a total cf $EOO or more?

l No. Go to line 7.

l:l Yes List below each creditor to whom you paid a total of $dt`lo or more and the total amount you paid that creditor. Do not
include payments for domestic support obligationsr such as child support and alimony, Also, do riot include payments to an
attorney for this bankruptcy case.

Cr‘editol"s Name and Address Dates of payment Total amount Amount you Was this payment for
paid still owe
leliclal Form 107 Statement of Financiai Affeirs for individuals Fiiing for Bankruptcy page 2

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emma ii:sonu
Debtor 'i N|AR|ANELA DL__lN_L-'_R;_\ CABAL|_ERC) Case number (lrlinown)

 

 

7. Within 'i year before you filed for ban kruptcy, did you make a payment on a debt you owed anyone who was an lns|der?
ii‘iei`ciel'e include your reiai.|Ves; any general partners; relatives of any general partners'l partnerships ofwhich you are a general partner; corporations
of which you are an officer. director. person in conlrol, cr owner of 20% or more ct their voting securities‘. and any managing agent. including one for
a business you operate as a sole proprietor ii U.S.C. § 101. include payments for domestic support obligations such as child suppon and

alimony.

- No

i:| Yas List all payments to an insider.

insider‘s Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

iid Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

include payments on debts guaranteed or cosigned by an insider,

l Nc

l:l Yes. List ali payments to an insider

lnsider's Name and Address Dates of payment Totat amount Arnount you Fteason forthis payment
paid still owe include creditors name

*__imel_en__iify_i__deg_ai_£\_ctlons. Ftapossessions. and Foreciosures

e. Within 1 year before you filed for bankruptcy. ware you a party in any lawsuit, court action, or administrative proceeding?
List all such matters including personal injury cases. small claims actions, divorces. collection suits, paternity actions, support or custody
modifications and contract disputes

 

 

 

i:i No
l Yes. Fill in the details
Case title Nature of the case Gourt or agency etatus cf the case
Case number
CHECK CiTY PARTNERSH|P VS Civil LAS VEGAS JUSTICE l Pending
CABALLERD, MAR|ANELA CDURT i:i On appeal
OL|VERA 200 L.EW|S AVE i;i Conciuded
18002'???9 PCi BOX 552511

Las Vegas, NV 891 55
STATE DF NV VS OLiVERA TRAFF|C LAS VEGAS JUST|CE iii Pending
CABALLERO, iiiiARiANELA COL|RT |:| nn appear
LVM0451643 200 LEWIS AVE -

Po cox sszsii C°“°'"d°d

Las Vegas, NV 89155 FiNE CiF $_i_i§ on
ETATE OF NV VS OLlVERA TRAFF|C LAS VEGAS JUSTICE i:| F'ending
CABALLERO, MAR|ANELA CDURT |Il On appeal
CL500024900 200 LEWlB AVE l Ci,iiciuded

PO BOX 55251'|

Las V?gas' NV 39155 .FlNE ol= 341.00

 

ill Within 'l year before you filed for bankruptcy, was any of your property repossessed. foreclosed. garnished. attached, seized, cr levicd'i'
Checit ali that apply and ti|i in the details below_

l No. Go to line 11.
l:l Yes. Fiii in the information beiow.

Creditor Name and Address Descrlbe the Property Date Value of the

Fi"‘?tl:"a"tlir
Exp|ain what happened

i_‘_tm¢ia| Form ‘|[,l'i’ Statement of Financiai Affair'a for individuals Fiiing for Bankruptcy page 3

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morris iiisoaili
Debtor 1 MAR|ANE|_A C)|_|VERA CAEA|_LERQ Case number (lrirnowni

 

11. Within 90 days before you filed for bankruptcy, did any creditorl including a bank or financial institutionl set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
i:| Yas. Fill iri the details

Creciitor Name and Address Descrlbe the action the creditor took Date action was An"iount

taken

12. Within 1 year before you filed for bankruptcy. was any cf your property in the possession of an assignee for the benefit of creditors a
court-appointed receiver. a custodian, or another ofticial?

- No
l;l Yes

m List certain G_li:ts _g_n§t_ contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $Et'.iti per person'?
. No

l:l Yes_ Fi|l in the details for each gift.

Gifts with a total value of more than $600 Descrlbe the gifts

Dates you gave Value
per person

the gifts

Person to Whom You Gave the i.'_`ill‘t and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
- tile

i:| Yes Fill in the details for each gift or contributionl

Glfts or contributions to charities that total Describe what you contributed Dates you Value
more than $Etli'.i

contributed
Charity's Name
Address rnurnnar. streei. ciiy. state and ::ii=l coast

List Certaln Lossas

15. Within 1 year before you filed for bankruptcy or since you tiin for bankruptcyl did you lose anything because of theftl fire, other disaster,
or gambling'?l
l No
l:l Yes. Fill in the details

Descrlbe the property you lost and

Descrlbe any insurance coverage for the loss Date of your Value of property
how the loss occurred

include the amount that insurance has paid. List pending low lam
insurance claims on line 33 of Scheciule A/B: Property.

.ilstt?s_cstuccare.ee.ta sr insists

 

16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys bankruptcy petition preparers or credit counseling agencies for services required in your bankruptcy.
l:l No
l Yes_ Fiii in the details

Person Who Was Paid Description end value of any property

 

Date payment Amount of
Address transferred or transfer was payment
Emaii or website address made
Person Who Made the P'ayment. if Not You
LAW DFF|CES DF MiCHAEL J. ATTORNE‘(' FEES 1!25/2019 $1,500.00
HARKER
2901 EL GAM|NO AVE STE 200
Las Vegas, NV 89102
t]i'ficiai Form 107 Stetemel'lt of Financiai Affairs fi:ir individuals Fiiing for Bankruptcy pagg 4

Snf'tware C.`c\pyrigl'il (ci 1595-2015 EEet Ceeei LLE - vinrirw.l‘.'ieet¢‘.eeeittuf'r\ Eest Cas-E Bankruptcy

Debtor 1 N|AR|ANELA D|_|VERA C_ABALLERQ C.ase number ¢lrrtnewn)

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JliIl'i'i'l'B 11150AM

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

'iEi.

'iE|.

promised to help you deal with your creditors or to make payments to your creditors?
Do riot include any payment or transfer that you listed on line 1t';i.

l No

El Yes. Fiii in the details

Person Who Wea Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

Within 2 years before you filed for bankruptcy. did you se||. trade. or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security {such as the granting of a security interest or mortgage on your prcperiy). Do not
include gifts and transfers that you have already listed on this statementl

- No

iii Yes_ Fiii in the details

Person Who Received Transfor Descrip`tion and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person‘s relationship to you

Within 1b years before you filed for bankruptcy. did you transfer any property to a self-settled trust cr similar device of which you are a
l:ienieficiary'iil (These are often called asset-protection devices.)

- No
l:| vest Fill in the details
Name of trust Description and value of the property transferred Date Transfer was

made

List of Certaln Financiai Aci:ourits. instruments Safa Deposit,§g"i§gsiagd Storage i.lnits

 

20. Within 1 year before you filed for bankruptcyr were any financial accounts or instruments held in your name, or for your benefit, ciosed,
soid, moved, or transferred?
include checking, savings money market, or other financial accounts; certificates of deposit; shares in banks, credit unione, brokerage
houses, pension funds, cooperativesl associationsl and other financial institutions
- No
l:l Yes. Fill mine details
blame of Financiai institution and Last 4 digits of Type of account or Date account was Last balance
Address |Numimr, siroot. city, state and ziF account number instrument closed, soid, before closing or
cadet moved, or transfer
transferred
21. Do you now have, or did you have within 1 year before you filed for bankruptcyl any safe deposit box or other depository for securities,
cash. or other vaiuabies?
l No
Ei Yes. Fiii in the details
Name of Financiai institution Who else had access to it? Describe the contents Do you still
Add ross tlitumbor. simoi. cliy, stain and zii= const Address intention street cliy. have it'?
, , state end ziP ceuei. .
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
- i'iio
El Yes. Fill in the detaiis.
Name of Storage Facility Who else has or had access Descrlbe the contents Do you still
Address triumtmr. sireat, city. state and ziP count to it? have it'?
Addre$$ iNumbor, Stroirf. l$ity.
St.ate and ZlF' Godei
Oft'|clat Form 107 Statement of Financiai Affaira for individuais Fiiing for Bankruptcy page 5

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Ji'D'r'i'lB HEEIJAM

DEbiDr'i MARiANELj-‘r OLlVERA CABALLERO Case number tirimdwnl _

 

identify Property You Hold or Controi for Someone Else

23. Do you hold or control any property that someone else owns'i' lnclude any property you borrowed from. are storing for. or hold in trust

for someone.

- rio

El Yas Flll in the details

i.'.iwner‘s Name Where is the property? Describe the property Value
Address rlilumoar. slreet. clly. stale and zlP coda) iN'-'""‘=W» 5‘“"“~ mbh S‘=i° ="'=' z""

Coda)

Part 10: Give Detai|s About Environmenta| information

For the purpose cf Part 10. the following definitions apply:

- Environmentai law means any federal. statel or local statute or regulation concerning poiluttcn, contamination, releases of hazardous or
toxic substances wastes or material into the air. iand. soii. surface water, groundwater. or other medium. including statutes or
regulations controlling the cleanup of these substances wastes or material.

Sr'te means any location, facility, or property as defined under any environmental law, whether you now own. operate, or utilize it or used
to own, operate, or utilize lt, including disposal sites.

Hazaro'ous material means anything an environmental law defines as a hazardous waste. hazardous substancel toxic substance.
hazardous materialll poliutant, contaminant, or similar term.

Report all notices releases and proceedings that you know about. regardless of when they occurrad.

24. Has any governmental unit notified you that you may be liable or potentially liable under or irl violation of an environmental iaw'i'

- No

El Yes. Fill in the details
Name cf site chernmenta| unit Environrnentai iaw. if you Date of notice
Address (namhar. simet. ciry. slate and zlP cadet Address tueml=ar, street city_ state and know it

Z.iP Eodei

25. Have you notified any governmental unit of any release of hazardous materlai?

l rio

El yes Fill in the details

Name of site Governmental unit Environmental law, if you Date of notice
Address tNuinoer. slreel. clty. slate end le cotter Address ruumber. slrael. clty. slate and know it

zip cotter

25, Have you been a party in any judicial or administrative proceeding under any environmental lavv'? Include settlements and orders.

- No

iIi Yee. Fill in the details

Case Title Gourt or agency Nature of the case $tatus of the
Case Number Name case

Address tNumoer. slreet. cilv.
stale and ZiP t‘.'oda)

lee Detaiis About Your Business or Gonnections to Any Business
2?. Within 4 years before you filed for bankruptcy1 did you own a business or have any of the following connections to any business"r"
|:l A sole proprietor or self-employed in a tracts prcfession, or other activity, althar full-time or part-time
l;i A member of a limited liability company (LLC) or limited liability partnership (LLP)
i:i A partner irl a partnership
n An officer, director, or managing executive of a corporation

l:l An owner of at least 5% of the voting or equity securities of a corporation

Oiiil:ia| Form 107 Statemerlt of Financiai Affairs for individuals Fiiing for Bankruptcy page B

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ElD'l'i'\El‘ i.iZSIJAM

DENW`[ NlAR|ANELA OLlVERA CAEAL.LERD ease number i"’“"°“*"i _

. No. None of the above applies. Go to Part 12.

i:i Yes. Check ali that apply above and fill in the details below for each business.

Business Name Descrlbe the nature of the business Employer identification number
Address Do not include social security number or |TiN.
[NLllt'lel', Sf:¢‘oef., Clly, Stai.tl and ZlP' Cclda} Name of accountant or bookkeeper

Dates business existed

ZB. Within 2 years before you filed for bankruptcy, did you give a‘financia| statement to anyone about your business"i‘ include ai| financial
institutions creditors or other parties

- No
n ‘{es. Fiii in the details below.
Name Date issued

Address
rudmlier. straal, city. stale and ::ll=l cedar

Part 12: Bign Below

l have read the answers on this Statemenr of Financiai Affairs and any attachments and l declare under penalty of perjury that tha answers
are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

te u.s.c. §§ 152, 1341, 1519, and 3571.

lsi MAR|ANELA DLIV'ERA CAEALLERO

MAR|ANELA OLIVERA CAEALLERO Eignature of Debtor 2
Signature of Debtor 1

 

 

Date March 7.2019 Date

Dld you attach additional pages to Your Statemenf of Financiai Affal'rs for individuals Fiiing for Bankruptcy (leficial Form 107)?
l i~io

i;i Yes

|_'.lld you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms‘i'

l No

i:l Yes_ Name of Person _ Attach the Bankruptcy Petition Preparer's Noi.‘l'ce, Deciaratr'on. end Sl'gnaiure (Ofiicial Form 119).

Df-i'|eia| Fi:irm 107 Statement of Financiai Affaire for individuals Fiiing for Bankruptcy page 7

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3|07119 l1!5lJAM

Fill in this information to identify your case:

debtor 1 Malr@_.lyga oleERA cAeALLERo

Firal 'l~“t`r`lme Middla Name Last name

 

Debtor 2 `_
(Spouse li. filingi i‘-‘lrat l_\lame Middle Name Last Name

 

Uniied Staies Bankruptcy Coun for the: DlSTRlCT OF NEVADA

 

 

Case number
li'f"““”" l:l Check if this is an
amended filing

 

 

 

Ofiicial Form 108
Statement of intention for individuals Fiiing Under Chapter 7 one

 

if you are an individual filing under chapter 7. you must fill out this form if:
- creditors have claims secured by your property, or

- you have leased personal property and the lease has not axplrad.

You must file this form with the court within 30 days after you tila your bankruptcy petition or by the date set for the meeting of creditors
Whichever is earlier. unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case. both are equally responsible for supplying correct infonnation. Both debtors must
sign and date the form.

le as complete end accurate as possible. li‘ more space is neel:iel:il attach a separate sheet to this form. Dn the top of any additional pagesl
write your name and case number tlf known).

List Your Creditors Who Have $ecured Claims

1. For any creditors that you listed in Part 1 cf schedule D: Greditors Who Have Claims secured by Property torticial Form ‘ltiED), fill ln the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that D|d you claim the property
secures a debt? as exempt on schedule C?
Credltor's l:| surrenderthe property l:l NB
name: l:| Ftetain the property and redeem it.
_ _ ill Retairl the property and enter into a n `i'*-=-'B
DBSCF|PUO!'| iii Reaffl'rmatr'on Agreement.
property i:i Retain the property and [explain]:

securing debt:

 

 

Creditcrs |:l Surrerider the prcperty. i:i NO
name: l;i Retain the property and redeem |l,

_ _ |Zi Retain the property and enter into a m Yt‘$
DBSCF|DN'D|'| of Reeii't'rmail'on Agreemeni.
perEiiy _ _ i:i Ftetain the property and [explain]:

securing debt;

 

 

Creditor's i:i Surrender the property iii-bic
namet i:l Retain the property and redeem ii.

i:i Retein the property and enter into a m yes
Description cf Raan‘irmafion Agreemerli.
PFUPF-'i‘iy |:l Retairl the property and [explaln}:

securing debi:

 

 

Cretliler's I:I Surrender the property. i:l No

Ciiiicial Form tile Statement of intention for individuals Fiiing Under Chapter 7 page 1

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SlM'lig iiTBCl.l'tM

 

Debtor 'l MEB!AM\ER',_A_CA_B_AL|__|_EBQ _ __ __ _ _ _ Case number (rrrmewn;
name: l:l Reiain the property and redeem il. Ei Yes
|:| Reialn the property and enter into a

Descript|on of

property
securing debt:

Reaffinnatr`on Agreementr
i;i Retain the property and [explain]'.

 

 

List Your Linexpired Personal Froperty Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Oi‘ficia| Form 1056). fill
in the information below. Do not list real estate leases. i.inexpired leases are leases that are still in eHect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.B.G. § 365(p)(2}.

Descrlbe your unexpired personal property leases Wi|| the lease he assumed'i'

Lessor‘s namer
Desoriplion of leased
Properly:

Lessor's name:
Desc'.ription of leased
Property'.

Lessor's name:
Descriptlon of leased
Property:

Lessor's name:

Descrlption of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Deseription of leased
Property:

Lessol‘s name:

Descripl|on cf leased
Property:

ms Br-'l¢>w

i:l No
Ei Yes
i:i No
Ei Yes
l:i No
l:| Yes
|IJ Ne
i:l Yes
|:i No
l:i Yes
i:l No
i:l Yes
i;l No

l:l Yes

Under penalty of perjury. l declare that i have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 

 

 

X lsi MAR|ANELA DL|VERA CABALLERO X
MAR|ANEL.A OLiVERA CABALLERD SleiiHlLlF*-’-' of DEL"\DI' 2
Signature of Debtor 1
Date March 7, 2019 Date
Cil‘i`icial Form 108 Steternent of intention for individuals Fiiing Under l'.`.hapter 'i' page 2

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3N711911'55AM

Fill in this information to identify your csse;

Debtor i MARiANELA OLIVERA CA.BALL.ERD

' ‘it onr_l box only as dirtj_-r -ri in this form and in Form

-"i-Eupp:

 

(DS:°[Z:J!;T |?mmg) l 1_ There is no presumption of abuse

i:i 2. The calculation to determine if a presumption of abuse
applies will be made under Chapler?' Means Test
Calculation (Ofticial Forrn 122A-2).

United States Bankruptcy Court for the: l_'.iistrict of Nevada

 

Case number

tirirmwni i:i 3. The Means Test does not apply now because oi
qualified military service but it could apply later.

i:i Chack if this is an amended filing

 

 

Officiai Form 122A - ‘i
Chapter 7 Statement of Your Current Monthiy income tens

l':i-a aa complete and accurate aa poaalbla. if two married people ara filing togethar. both are equally responsible for being accurate. ll more space is needed,
attach a separate sheet to this form. include the line number to which tha additional information applies. Clrl the top of any additional pagaa. write your name and
case number ill known). liyou believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualilying military service, complete and file Statemenr. of Exemprion from Presumptr'en of Aouse Under § 'r'ti'r(b)(z} (official Form 122A-1Supp) with this form.

 

Part 'i: Caicuiate Your Current iilionth|y income

1. What is your marital and filing status? Checlt one only.
l Net married Fill out Colurnn A. lines 2-11,
i:i lillarrled and your spouse ls filing with you. Fill out both Co|umns A and El, lines 2-‘|1.
i:i iiiiarried and your spouse is NDT filing with you. You and your spouse are:
|:i lelng ln the same household and are not legally separated. Fiii out both Columns A and B. lines 2-11.

i:i Living separately or are legally separated. Fill out Coiumn A, lines 2~11; do not till out Column Ei. By checking this bo)t_ you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the iilieans Test requirements 11 U.S.C § 7Cii'(b)('r’)(B].

Fiii in the average monthly income that you received from aii aourcee, derived during the B full months before you fite this bankruptcy caee_ 11 U_S‘C_ §
itiititiAi. For example, if you are li|ing on Seplember 15. the Ei-month period would be March 1 through Augusl 31 if the amount of your monthly income varied during
the E monihs, add the income for all 5 months and divide the total by Er Fill in the result Do riot inciurie any income amount more than oncc. For examp|e. ll both
spouses own the same rental propertyl out the income from that property in one column only ll you have nothing to report ior any linel write $0 in the space

 

 

 

 

 

 

 

 

 

 

 

Column A Coltrrnn B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary. tlps. bonuses, overtime. and commissions ibefore all

payroll deductions}. $ 21510-20 $
3. Alimony and maintenance payments. Do not include payments from a spouse if

Colurnn El is piled in_ D.DD $
4. Aii amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. include regular contributions

irorn an unmarried partner. members of your househoid. your dependents parents.

and roommates. include regular contributions from a spouse only if Colurnn B is not

filled ln. Do not include payments you listed on line 3. cum 5
5. Net income from operating a business, profession, or farm

Debtor 1

Gross receipts (before all deductions) 5 olin

Ordinary and necessary operating expenses '$ arm

Net monthly income from a business, profession, or farm $ D~oo C°Pil hare '}‘ 5 crim $
6. Net income from rental and other real property

Debtor ‘l

Gross receipts (befcre all deductions) 5 o-oci

Clrdinary and necessary operating expenses '5 D~on

Net monthly income from rental or other real property $ ann C°Pi' hara ':’ 5 _ _q;gg_ $ _
7. interest, dividendsll and royalties $ 0'00 $__ _ _

Ol‘lioial Form 122A-1 Chapter 7 Staternent of Your Curront Month|y income page 1

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worn a insurer
Debtor1 MEL&NELA Ol_._.i\_J'ER_A_(.':_AE/_\LLERO t_."eee number tii"irnown)
Column A Column Ei
Debtor 1 Debtor 2 or
non-filing spouse
B. unemployment compensation $ _ `_ D.OD $
Do not enter the amount if you contend that the amount received was a benefit under
the Social Securiiy Acl. lnslead. list il here:
For your spouse l ___$
9. Penslon or retirement income Do not include any amount received that was a
benefit under the Social Securlty Aci $ iii-00 3
10. income from all other sources not listed above. Specify the source and amount.
Dc not include any benefits received under the Sociai Security Act or payments
received as a victim of a war crimel a crime against humanity, or international or
domestic terrorism, ll necessary. list other sources on s separate page and put the
total below.
$ D.Dt'.i 5
$ D.t_i_t_i_ $___ ____
Total amounts from separate pages. lf any. + $ D.ili.'i
11. Caicu|ate your total current monthly income. Add lines 2 through 10 for + _
each column Then add the total for Column A to the total for Column Ei. $ F __2»§_19_-_2£ 5 ' 5 2510-20
Total conant monthly
income
Determlne Whether the Means Test Applies to Vou
12. Galcuiate your current monthly income for the year. Follow these steps: “_ _
12a. Copy your total current monthly income from line 11 _______________________________________________________________________ Gopy line 11 here=a» 3 2 510_20
Multipiy by 12 (the number of months in a year) x 12
12b. The result is your annual income for this part of the form 12i:i. $ 31_._322-'.4€! `

 

 

 

13. Ca|ct.ilate the median family income that applies to you. Foliow these steps:

Fill in the state in which you live.
Fill in the number of people in your household 1

Fiii in the median family income for your state and size ct household 13_ 5 49,170.00

To find a list ol' applicable median income amou nts. go oniine using the link sp'eoitiedin-iheseparate-instructions
ior this form. This list may also be available at the bankruptcy clerk's otilce.

 

 

 

 

14. How do the lines compare?
14a - Line 12b is less than or equal to line 13. On the top of page 1. check box 1. There is no presumption cfsouse.
Go to Part 3.

14b. i:i Line 12b is more than line 13. i.'.ln the top of page 1 check box 2 The presumption ofebuse r`s determined by Form 122A -2.
Gc to F'art 3 end fill out Form 122/-'\-2.

Slgn Below

By signing here, l declare under penalty of perjury that the information on this statement and in any attachments is true and correct

X let MAR|AN_ELA DL|VERA CABALLERD

MAR|ANELA ClLlVERA CABALLERO
Signature of Debtor 1

Date March '!, 2019
MM l DD l YYYY

ll you checked line ida. do NDT till out or lite Form 122A-2.
if you checked line 14b, till out Form 122A»2 and file lt with this formt

 

 

 

 

 

Oiilciai Form 122A-1 Chapter ‘i' Staternant of Your Current Monthly income page 2
Soiiwere Copyrighi tc) 1596-2015 Bast Ceae. LLt“. - mvw.bestcese.com Best Dese Bankruptcy

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BlDT¢'i‘E| 11:50AM
E\zoso tForm 2030) (12/15)
United Ststes Bankruptcy Court
Distr'ict oi` Nevada

in re MAR|ANELA CiLlVERA CABALLERO Cusc Nc.

 

 

Debtor(s} Chapicr i"

 

DISCLGSURE OF COMPENSATION (}F ATTORNEY FOR DEBTOR(S)

l. Pursuant to l 1 l_l .S.C. § 329(;1) end ch. Bankr. l". Zl!:liti(h)1 l ccnit`y that l am the attorney t`or the above named dchtor(s) and that
compensation paid to inc within one year hef`orc the lilirtg ol"the petition in bankruptcy, or agreed to he paid to mc, f"oi' services rendered or to
be rendered on hchall'ol`the debtor(s) in contemplation ol' or in connection with thc bankruptcy case is as l'ollows:

 

For lcgul scrviccs, l have agrccd to accopt_____ ____________ $ 1,5|'.\0.00
Prior to the liling oi'this statement i have rcccivcd_"_“___`_… $ _1,M
'3“1““'=¢ '3'1» 3 _U"JD

2. Thc source ol`lltc compcnstttion paid to mo wtls:

- Debtor n Cithcr {spccil`y):

3. 'l`hc sourcc of` compcnsation to bc paid to me is:

- chtor lj Other (spccit`y):
4_ l l have not agreed to share thc above-disclosed compensation with any other person unless i_hcy arc n'icmhci's and associates ol` my law firm.

Ei l have agreed to share the shove-disclosed compensation with a person or persons who nrc not members or associates ol`rny law lirrn. A
copy of thc agreement, together with a list of` the names ot`thc people sharing in the compensation is attechcd.

5. in return i`or the above-disclosed i`ec. i have agreed to render legal service i'or all aspects ofthe bankruptcy casc, including:

a. Annlysis ol“ihe debtors linancioi sittialion‘ and rendering advice to thc debtor in deicnnining whether to tile a petition in bankruptcy;

b. Prcparation and filing of` any petition, schcdulcs, statement of affairs and plan which may bc rcquircd;

e, Represcntalion ot` the debtor at the insisting ot`credit'ors and confirmation heering, and any adjourned hearings thci'coi":

ri. [Other provisions as ncetlcd`]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

6_ By agrccmcnt with thc dcbtor{s): thc above-disclosed t`cc docs not include thc following scrvicc:
Representation of the debtors in any dischargeability stationsr judicial lien avoidances. relief from stay actions or
any other adversary proceeding

 

CERT|I"`ICAT|ON

l certify that the foregoing is a complete statement ot any agreement or arrangement l`or payment to mo l`or representation ol`ihe dchtoris) in
this bankruptcy procccdingd

Marcl'i 'r'. 2019 let MICHAEL J. HARKER
Dnre Mlt'_-`HAEL J. HARKER 5353
. .S'r`gnarrtr'e of.-‘tt‘ror'ncy .

LAW DFF|CES OF lifllCHAEL ..l. HARKER
2901 EL CAM|NO AVE STE# 200
Las Vegas, NV 89102
702-243-3000 Fa:it: 702-425-7290
NDT|CES@HARKERLAWF|RM.CDM
Nrrrna of`iowfr`r'rrr

 

 

 

 

 

 

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3!0?|'19 11 SOAM

United States Bankruptcy Court
Distriet of Nevada

ln rc N|AR|ANELA OLIVERA CAE|ALLERO Case No.

 

 

l)chtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

'i‘he above-named Debtor hereby veriiies that the attached list of creditors is true and correct to the best of his/her knowledgel

Date: March 7, 2019 lsi MAR|ANELA OL|VERA CABALLERO
MARIANELA OLIVERA CAEIALLERO
Signature of Debtor

 

 

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MARIANELA OLIVERA CABALLERO
5225 FIRE NIGHT AVE
Las Vegas, NV 09122

MICHAEL J. HARKER

LAW OFFICES OE‘MICHAEL J. HARKER
2901 EL CAMINO AVE STE# 200

Las Veqas, NV 89102

ACIMA CREDIT FKA
9815 S. MONRDSE ST FLe
Sandy, UT 84070

AD ASTRA RECOVERY SERVICING
7330 W. 33RD ST N #110
WiChita, KS 67205

BANK OF AMERICA
so nos assess
cl Paso, ex vesss

BARCLAYS BANK DELAWARE
PO BOX 8803
Wilminqton, DE 19899

CAPITAL ONE BANK USA
15000 caPITAL ona os.,
atcanono, vs 23233

CASH 1
PD EOX 4115
Concord, CA 94524

CBNA
PO EOX 6497
Sioox Falls, SD 57117

CHASE BANK ONE CARD SERV
PO BOX 15298
Wilmington, DE 19850

CHECK CITY

Acet No xxxxx7779
PO BOX 1259

Oaks, PA 19456

CLARK EOUNTY ASSESSOR
e/o BANI<RUPTCY cLest<

500 51 GRAND CENTRAL PKWY
EOX 551401

Las Vegas, NV 89155

CLARK COUNTY RECORDER
500 S. GRAND CENTRAL PKWY
Las Vegas, NV 89155

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COMENITY BANK/ VCTRSSEC
FO EOX 102709
Columbus, OH 43210

CONNS CREDIT CORP
3255 COLLEGE ST
Beaumont, TX 17701

CURACAO
1605 W. OLYMPIC BLVD STE 600
Los Angeles, CA 90015

DEPT GF EMPLOYMENT TRANING & REHAB
500 EAST THIRD ST
Carson City, NV 89713

DISCOVER FINCL SVC LLC
PO BOX 15316
Wilmington, DE 19350

osNB/MACYS
so cox sale
Monroe, OH 45050

INTERNAL REVENUE SERVICES
PO EOX 7346
Philodelphia, PA 19101

LAS VEGAS JUSTICE COURT
Acot No xxxxx???§

200 LEWIS AVE

PO BOX 552511

Las Vegas, NV 89155

NEVADA DEPT OF TAXATION
555 E. WASHINGTON AVE #1300
Las Vegas, NV 89121

PAY PAL CREDIT
PO BOX 105650
Atlanta, GA 30348

PORTFOLIO RECOVERY
120 CORTPORATE BLVD #l
Norfolk, VA 23502

PORTFOLIO RECOVERY ASSOCIATEB
120 CORPORATE BLVD STE 100
Norfolk, VA 23502

PROGRESSIVE LEASING
256 DATA DR
Draper, UT 64020

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QUANTUM COLLECTION
3050 S. DURANGO #105
Laa Vegae, NV 89117

RAPID CASH
1532 N. JONES BLVD
Las Vegas, NV 59100

SEAN P. HILLIN, ESQ.

ACCt NO xxxxx???§

1000 E. SI»\HARA AVE, SUI'I'E 102
Lss Vegas, NV 59104

sense/esaa
so sex 6252
Sioox Falls, SD 5?117

Simm Associates, Inc.
000 PENCADER DR
Newark, DE 19702

SIMON' S FURNITURE
0 SUMMER STREET
Franklin, MA 02038

SNAP FINANCE
PO BOX 26561
Salt Lake City, UT 54126

500 IAL SECURITY ADMINISTRATION
160 SPEAR STREET, SUITE 000
San Franeiseo, CA 94105

SPACE COAET CREDIT UNIC)N
0045 N. WICKHAM RD
Mslbourne, FL 32940

sYNcB/ASHLEY HoMasToRe
950 ferrer blvd
kettsrinq, ca cease

sYNcB/Je PBNNY
so cox 965007
orlando, FL 32896

BYNCBfSAMS ELUB
PO EOX 965005
Orlando, FL 32895

SYNCB/SUNGLASS HUT
PO BOX 965036
0r1ando, FL 32895

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SYNCB/TJX COS
PO EDX 965005
Orlando, FL 32895

THD/CBNA
PO BOX 6497
Sioux Falls, 50 57117

Tropicana Animal Hospital
2355 E.'TROPICANAMAVE
Las Vegas, NV 89119

US COLLECTION WEST IN
2320 W. PEORIAJAVE STE Cl
Phosnix, AZ 55029

VERIZON WIRELESS
PO BOX 650051
Dallas, TX 75265

WEST CREEK
PO Box 5518
Glen Allen, VA 23058-5518

WF CRD SVC
PO BOX 14517
Dss Moines, IA 50306

WK AND ASSOCIATES, INC
790 E. COLDRADD BLVD QTH FLOOR
Pasadena, CA 91101

